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            EXHIBIT 3
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      Generated on: This page was generated by TSDR on 2019-03-21 11:00:17 EDT
               Mark: MEMOJI




  US Serial Number: 86961925                                                      Application Filing Apr. 01, 2016
                                                                                              Date:
     US Registration 5566242                                                      Registration Date: Sep. 18, 2018
           Number:
            Register: Principal
          Mark Type: Trademark
              Status: A cancellation proceeding is pending at the Trademark Trial and Appeal Board. For further information, see TTABVUE on the
                      Trademark Trial and Appeal Board web page.
        Status Date: Sep. 26, 2018
   Publication Date: Dec. 05, 2017                                                        Notice of Jan. 30, 2018
                                                                                    Allowance Date:



                                                                 Mark Information
         Mark Literal MEMOJI
          Elements:
 Standard Character No
            Claim:
       Mark Drawing 3 - AN ILLUSTRATION DRAWING WHICH INCLUDES WORD(S)/ LETTER(S)/NUMBER(S)
              Type:
      Description of The mark consists of the stylized wording "MEMOJI" appearing in white on a black background with a white oval with gray highlighting
              Mark: replacing the letter "O", a woman's cross-eyed face appearing within the oval with brown hair, tan skin, brown eyebrows, black and
                     white eyes, pink cheeks and red lips. A partial reflection of the wording and design appears inverted directly below "MEMOJI" in gray,
                     tan, brown, black red and pink.
      Color Drawing: Yes
   Color(s) Claimed: The color(s) black, white, gray, brown, tan, red and pink is/are claimed as a feature of the mark.
      Design Search 02.03.01 - Busts of women facing forward; Heads of women facing forward; Portraiture of women facing forward; Women - head,
           Code(s): portraiture or busts facing forward
                    27.03.02 - Humans forming letters or numerals; Humans forming punctuation
       Name Portrait The name(s), portrait(s), and/or signature(s) shown in the mark identifies Nicole Martin, whose consent(s) to register is made of record.
          Consent:

                                                    Related Properties Information
        International 1421035
         Registration
            Number:
        International A0076764/1421035
       Application(s)
     /Registration(s)
       Based on this
            Property:

                                                                Goods and Services
Note: The following symbols indicate that the registrant/owner has amended the goods/services:

              Brackets [..] indicate deleted goods/services;
              Double parenthesis ((..)) identify any goods/services not claimed in a Section 15 affidavit of incontestability; and
              Asterisks *..* identify additional (new) wording in the goods/services.

                 For: Computer application software for mobile phones, namely, software for recording, editing, and distributing images, videos, and audio;
                      computer application software for mobile phones, computers, and tablets, namely, software for recording, editing, and distributing
                      images, videos, and audio; downloadable mobile applications for recording, editing, and distributing images, videos, and audio;




                                                                                                                                            APL-STECH_00000165
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                        downloadable software in the nature of a mobile application for recording, editing, and distributing images, videos, and audio
          International 009 - Primary Class                                          U.S Class(es): 021, 023, 026, 036, 038
             Class(es):
          Class Status: ACTIVE
                Basis: 1(a)
             First Use: Jun. 28, 2018                                           Use in Commerce: Jun. 28, 2018

                                                     Basis Information (Case Level)
                Filed Use: No                                      Currently Use: Yes                                      Amended Use: No
                Filed ITU: Yes                                     Currently ITU: No                                       Amended ITU: No
                Filed 44D: No                                      Currently 44D: No                                       Amended 44D: No
                Filed 44E: No                                      Currently 44E: No                                       Amended 44E: No
                Filed 66A: No                                      Currently 66A: No
           Filed No Basis: No                                Currently No Basis: No

                                                     Current Owner(s) Information
          Owner Name: SOCIAL TECHNOLOGIES LLC
     Owner Address: 881 N. HIGHLAND AVENUE NE
                    APT. 19
                    ATLANTA, GEORGIA 30306
                    UNITED STATES
   Legal Entity Type: LIMITED LIABILITY COMPANY                                   State or Country GEORGIA
                                                                                 Where Organized:

                                              Attorney/Correspondence Information
                                                                      Attorney of Record - None
                                                                            Correspondent
      Correspondent GREG MAVRONICOLAS
      Name/Address: MAVRONICOLAS & DEE LLP
                    3 PARK AVENUE
                    15TH FLOOR
                    NEW YORK, NEW YORK 10016
                    UNITED STATES
                Phone: 6464849569
   Correspondent e- gmavronicolas@mavrolaw.com gmavronicolas@                    Correspondent e- Yes
              mail: mavrolaw.com                                                  mail Authorized:
                                                                Domestic Representative - Not Found

                                                               Prosecution History
                                                                                                                                                           Proceeding
   Date               Description
                                                                                                                                                           Number
Sep. 26, 2018      CANCELLATION INSTITUTED NO. 999999                                                                                                    69578
Sep. 18, 2018      REGISTERED-PRINCIPAL REGISTER
Aug. 16, 2018      NOTICE OF ACCEPTANCE OF STATEMENT OF USE E-MAILED
Aug. 15, 2018      ALLOWED PRINCIPAL REGISTER - SOU ACCEPTED
Jul. 25, 2018      STATEMENT OF USE PROCESSING COMPLETE                                                                                                  65362
Jun. 30, 2018      USE AMENDMENT FILED                                                                                                                   65362
Jul. 24, 2018      CASE ASSIGNED TO INTENT TO USE PARALEGAL                                                                                              65362
Jun. 30, 2018      TEAS STATEMENT OF USE RECEIVED
Jun. 12, 2018      TEAS CHANGE OF CORRESPONDENCE RECEIVED
Mar. 23, 2018      NOTICE OF APPROVAL OF EXTENSION REQUEST E-MAILED
Mar. 21, 2018      EXTENSION 1 GRANTED                                                                                                                   98765
Mar. 21, 2018      EXTENSION 1 FILED                                                                                                                     98765
Mar. 21, 2018      TEAS EXTENSION RECEIVED
Jan. 30, 2018      NOA E-MAILED - SOU REQUIRED FROM APPLICANT




                                                                                                                                              APL-STECH_00000166
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Dec. 05, 2017       OFFICIAL GAZETTE PUBLICATION CONFIRMATION E-MAILED
Dec. 05, 2017       PUBLISHED FOR OPPOSITION
Nov. 15, 2017       NOTIFICATION OF NOTICE OF PUBLICATION E-MAILED
Nov. 02, 2017       APPROVED FOR PUB - PRINCIPAL REGISTER
Oct. 12, 2017       TEAS/EMAIL CORRESPONDENCE ENTERED                                                                 70138
Oct. 12, 2017       CORRESPONDENCE RECEIVED IN LAW OFFICE                                                             70138
Oct. 09, 2017       NOTICE OF REVIVAL - E-MAILED
Oct. 08, 2017       TEAS RESPONSE TO OFFICE ACTION RECEIVED
Oct. 08, 2017       PETITION TO REVIVE-GRANTED                                                                        88889
Oct. 08, 2017       TEAS PETITION TO REVIVE RECEIVED
Oct. 03, 2017       ABANDONMENT NOTICE MAILED - FAILURE TO RESPOND
Oct. 03, 2017       ABANDONMENT - FAILURE TO RESPOND OR LATE RESPONSE
Mar. 03, 2017       NOTIFICATION OF PRIORITY ACTION E-MAILED                                                          6326
Mar. 03, 2017       PRIORITY ACTION E-MAILED                                                                          6326
Mar. 03, 2017       PRIORITY ACTION WRITTEN                                                                           86338
Feb. 10, 2017       TEAS/EMAIL CORRESPONDENCE ENTERED                                                                 70138
Feb. 10, 2017       CORRESPONDENCE RECEIVED IN LAW OFFICE                                                             70138
Feb. 02, 2017       ASSIGNED TO LIE                                                                                   70138
Jan. 18, 2017       AUTOMATIC UPDATE OF ASSIGNMENT OF OWNERSHIP
Jan. 16, 2017       TEAS RESPONSE TO OFFICE ACTION RECEIVED
Jul. 25, 2016       NOTIFICATION OF NON-FINAL ACTION E-MAILED                                                         6325
Jul. 25, 2016       NON-FINAL ACTION E-MAILED                                                                         6325
Jul. 25, 2016       NON-FINAL ACTION WRITTEN                                                                          86338
Jul. 15, 2016       ASSIGNED TO EXAMINER                                                                              86338
Apr. 07, 2016       NOTICE OF DESIGN SEARCH CODE E-MAILED
Apr. 06, 2016       NEW APPLICATION OFFICE SUPPLIED DATA ENTERED IN TRAM
Apr. 05, 2016       NEW APPLICATION ENTERED IN TRAM

                                           TM Staff and Location Information
                                                            TM Staff Information - None
                                                                   File Location
   Current Location: PUBLICATION AND ISSUE SECTION                     Date in Location: Aug. 15, 2018

                                      Assignment Abstract Of Title Information
   Summary
 Total Assignments: 1                                                        Registrant: SOCIAL TECHNOLOGIES LLC
                                                       Assignment 1 of 1
        Conveyance: CHANGE OF NAME
         Reel/Frame: 5956/0794                                                     Pages: 2
      Date Recorded: Dec. 28, 2016
          Supporting assignment-tm-5956-0794.pdf
         Documents:
                                                                     Assignor
                  Name: ONE MONKEY LLC                                  Execution Date: Dec. 28, 2016
   Legal Entity Type: LIMITED LIABILITY COMPANY                        State or Country GEORGIA
                                                                      Where Organized:
                                                                     Assignee
                  Name: SOCIAL TECHNOLOGIES LLC
   Legal Entity Type: LIMITED LIABILITY COMPANY                        State or Country GEORGIA
                                                                      Where Organized:
                Address: 881 N. HIGHLAND AVENUE NE
                         APT. 19
                         ATLANTA, GEORGIA 30306
                                                                  Correspondent




                                                                                                                   APL-STECH_00000167
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      Correspondent SAMUEL BONET
             Name:
      Correspondent 881 N. HIGHLAND AVENUE NE
           Address: APT. 19
                    ATLANTA, GA 30306
                                                          Domestic Representative - Not Found

                                                                 Proceedings
    Summary
          Number of 1
        Proceedings:
                                                Type of Proceeding: Cancellation
            Proceeding 92069578                                                   Filing Date: Sep 26, 2018
              Number:
               Status: Suspended                                                 Status Date: Nov 28, 2018
           Interlocutory MARY B MYLES
               Attorney:
                                                                       Defendant
                Name: Social Technologies LLC
      Correspondent GREG MAVRONICOLAS
           Address: MAVRONICOLAS & DEE LLP
                    3 PARK AVENUE, 15TH FLOOR
                    NEW YORK NY , 10016
                    UNITED STATES
    Correspondent e- gmavronicolas@mavrolaw.com
               mail:
Associated marks
                                                                                                                               Serial           Registration
    Mark                                                        Application Status
                                                                                                                               Number           Number
MEMOJI                                                       Cancellation Pending                                            86961925        5566242
                                                                       Plaintiff(s)
                Name: Apple Inc.
      Correspondent GLENN A GUNDERSEN
           Address: DECHERT LLP
                    CIRA CENTRE, 2929 ARCH STREET
                    PHILADELPHIA PA , 19104-2808
                    UNITED STATES
    Correspondent e- glenn.gundersen@dechert.com , jennifer.insley-pruitt@dechert.com , trademarks@dechert.com
               mail:
Associated marks
                                                                                                                               Serial           Registration
    Mark                                                        Application Status
                                                                                                                               Number           Number
MEMOJI                                                       Suspension Letter - Mailed                                      87397135
                                                                  Prosecution History
    Entry Number           History Text                                                                         Date                      Due Date
1                       FILED AND FEE                                                                         Sep 26, 2018
2                       NOTICE AND TRIAL DATES SENT; ANSWER DUE:                                              Sep 26, 2018              Nov 05, 2018
3                       PENDING, INSTITUTED                                                                   Sep 26, 2018
4                       D MOT TO SUSP PEND DISP CIV ACTION                                                    Oct 24, 2018
5                       SUSP PEND DISP OF CIVIL ACTION                                                        Nov 28, 2018




                                                                                                                                        APL-STECH_00000168
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                                                               APL-STECH_00000169
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Under the Paperwork Reduction Act of 1995 no persons are required to respond to a collection of information unless it displays a valid OMB control number.
PTO Form 1478 (Rev 09/2006)
OMB No. 0651-0009 (Exp 02/28/2018)


                                     Trademark/Service Mark Application, Principal Register
                                                                       Serial Number: 86961925
                                                                       Filing Date: 04/01/2016


                                                     The table below presents the data as entered.

                                           Input Field                                                                   Entered
             SERIAL NUMBER                                                              86961925
             MARK INFORMATION
                                                                                        \\TICRS\EXPORT16\IMAGEOUT
             *MARK
                                                                                        16\869\619\86961925\xml1\ APP0002.JPG
             SPECIAL FORM                                                               YES
             USPTO-GENERATED IMAGE                                                      NO
             LITERAL ELEMENT                                                            MeMOJI
             COLOR MARK                                                                 YES
             COLOR(S) CLAIMED                                                           The color(s) black, white, brown, tan, red, pink, blue, green,
             (If applicable)                                                            gray is/are claimed as a feature of the mark.
                                                                                        The mark consists of white reflective letters spelling
             *DESCRIPTION OF THE MARK
             (and Color Location, if applicable)
                                                                                        "MeMOJI" on a black background, with a female face inside
                                                                                        the "o".
             PIXEL COUNT ACCEPTABLE                                                     NO
             PIXEL COUNT                                                                400 x 225
             REGISTER                                                                   Principal
             APPLICANT INFORMATION
             *OWNER OF MARK                                                             One Monkey LLC
             INTERNAL ADDRESS                                                           881 North Highland Avenue NE
             *STREET                                                                    Apt. 19
             *CITY                                                                      Atlanta
             *STATE
                                                                                        Georgia
             (Required for U.S. applicants)

             *COUNTRY                                                                   United States
             *ZIP/POSTAL CODE
                                                                                        30306
             (Required for U.S. applicants)

             PHONE                                                                      6783584965
             EMAIL ADDRESS                                                              sambonet34@gmail.com
             AUTHORIZED TO COMMUNICATE VIA EMAIL                                        Yes
             LEGAL ENTITY INFORMATION
             TYPE                                                                       corporation
             STATE/COUNTRY OF INCORPORATION                                             Georgia




                                                                                                                                                    APL-STECH_00000170
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GOODS AND/OR SERVICES AND BASIS INFORMATION
INTERNATIONAL CLASS                       009
                                          Computer application software for mobile phones, namely,
                                          software for recording, editing, and distributing images,
                                          videos, and audio.; Computer application software for mobile
                                          phones, computers, and tablets, namely, software for
                                          recording, editing, and distributing images, videos, and
*IDENTIFICATION
                                          audio.; Downloadable mobile applications for recording,
                                          editing, and distributing images, videos, and audio.;
                                          Downloadable software in the nature of a mobile application
                                          for recording, editing, and distributing images, videos, and
                                          audio.
FILING BASIS                              SECTION 1(b)
CORRESPONDENCE INFORMATION
NAME                                      One Monkey LLC
FIRM NAME                                 One Monkey LLC
INTERNAL ADDRESS                          881 North Highland Avenue NE
STREET                                    Apt. 19
CITY                                      Atlanta
STATE                                     Georgia
COUNTRY                                   United States
ZIP/POSTAL CODE                           30306
PHONE                                     6783584965
EMAIL ADDRESS                             sambonet34@gmail.com
AUTHORIZED TO COMMUNICATE VIA EMAIL       Yes
FEE INFORMATION
APPLICATION FILING OPTION                 Regular TEAS
NUMBER OF CLASSES                         1
FEE PER CLASS                             325
*TOTAL FEE DUE                            325
*TOTAL FEE PAID                           325
SIGNATURE INFORMATION
SIGNATURE                                 /Samuel E. Bonet/
SIGNATORY'S NAME                          Samuel E. Bonet
SIGNATORY'S POSITION                      Principal
SIGNATORY'S PHONE NUMBER                  678-358-4965
DATE SIGNED                               04/01/2016
SIGNATURE                                 /Robert M. Long/
SIGNATORY'S NAME                          Robert M. Long
SIGNATORY'S POSITION                      Principal
SIGNATORY'S PHONE NUMBER                  678-637-7579




                                                                                          APL-STECH_00000171
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DATE SIGNED                             04/01/2016




                                                                       APL-STECH_00000172
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Under the Paperwork Reduction Act of 1995 no persons are required to respond to a collection of information unless it displays a valid OMB control number.
PTO Form 1478 (Rev 09/2006)
OMB No. 0651-0009 (Exp 02/28/2018)




                                           Trademark/Service Mark Application, Principal Register

                                                                       Serial Number: 86961925
                                                                       Filing Date: 04/01/2016
To the Commissioner for Trademarks:
MARK: MeMOJI (stylized and/or with design, see mark)

The literal element of the mark consists of MeMOJI.
The color(s) black, white, brown, tan, red, pink, blue, green, gray is/are claimed as a feature of the mark. The mark consists of white reflective
letters spelling "MeMOJI" on a black background, with a female face inside the "o".
The applicant, One Monkey LLC, a corporation of Georgia, having an address of
     881 North Highland Avenue NE
     Apt. 19
     Atlanta, Georgia 30306
     United States
     6783584965(phone)
     sambonet34@gmail.com

requests registration of the trademark/service mark identified above in the United States Patent and Trademark Office on the Principal Register
established by the Act of July 5, 1946 (15 U.S.C. Section 1051 et seq.), as amended, for the following:

For specific filing basis information for each item, you must view the display within the Input Table.
     International Class 009: Computer application software for mobile phones, namely, software for recording, editing, and distributing images,
videos, and audio.; Computer application software for mobile phones, computers, and tablets, namely, software for recording, editing, and
distributing images, videos, and audio.; Downloadable mobile applications for recording, editing, and distributing images, videos, and audio.;
Downloadable software in the nature of a mobile application for recording, editing, and distributing images, videos, and audio.
Intent to Use: The applicant has a bona fide intention, and is entitled, to use the mark in commerce on or in connection with the identified
goods/services.



The applicant's current Correspondence Information:
   One Monkey LLC
   One Monkey LLC
   881 North Highland Avenue NE
   Apt. 19
   Atlanta, Georgia 30306
   6783584965(phone)
   sambonet34@gmail.com (authorized)

A fee payment in the amount of $325 has been submitted with the application, representing payment for 1 class(es).

                                                                               Declaration

The signatory believes that: if the applicant is filing the application under 15 U.S.C. § 1051(a), the applicant is the owner of the
trademark/service mark sought to be registered; the applicant is using the mark in commerce on or in connection with the goods/services in the
application; the specimen(s) shows the mark as used on or in connection with the goods/services in the application; and/or if the applicant filed
an application under 15 U.S.C. § 1051(b), § 1126(d), and/or § 1126(e), the applicant is entitled to use the mark in commerce; the applicant has a
bona fide intention, and is entitled, to use the mark in commerce on or in connection with the goods/services in the application. The signatory
believes that to the best of the signatory's knowledge and belief, no other persons, except, if applicable, concurrent users, have the right to use the
mark in commerce, either in the identical form or in such near resemblance as to be likely, when used on or in connection with the goods/services
of such other persons, to cause confusion or mistake, or to deceive. The signatory being warned that willful false statements and the like are
punishable by fine or imprisonment, or both, under 18 U.S.C. § 1001, and that such willful false statements and the like may jeopardize the




                                                                                                                                                    APL-STECH_00000173
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validity of the application or any registration resulting therefrom, declares that all statements made of his/her own knowledge are true and all
statements made on information and belief are believed to be true.

Declaration Signature

Signature: /Samuel E. Bonet/ Date: 04/01/2016
Signatory's Name: Samuel E. Bonet
Signatory's Position: Principal
Signature: /Robert M. Long/ Date: 04/01/2016
Signatory's Name: Robert M. Long
Signatory's Position: Principal
RAM Sale Number: 86961925
RAM Accounting Date: 04/04/2016

Serial Number: 86961925
Internet Transmission Date: Fri Apr 01 19:29:38 EDT 2016
TEAS Stamp: USPTO/BAS-XX.XXX.XX.XXX-2016040119293838
8417-86961925-55039cf6b8c6238e0bfad70c78
180242432e2ceb62741c8b628edbbc208f40f66-
CC-5400-20160401180837237485




                                                                                                                              APL-STECH_00000174
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                                                               APL-STECH_00000175
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From:                      TMDesignCodeComments
Sent:                      Thursday, April 7, 2016 00:23 AM
To:                        sambonet34@gmail.com
Subject:                   Official USPTO Notice of Design Search Code and Pseudo Mark: U.S. Trademark SN: 86961925: MEMOJI (Stylized/Design)

Docket/Reference Number:


The USPTO may assign design search codes and/or pseudo marks, as appropriate, to new applications and renewed registrations to assist in searching the USPTO database
for conflicting marks. They have no legal significance and will not appear on the registration certificate.

DESIGN SEARCH CODES are numerical codes assigned to figurative, non-textual elements found in marks. For example, if your mark contains the design of a flower, design
search code 05.05 would be assigned to your application. Design search codes are described on Internet Web page http://www.uspto.gov/tmdb/dscm/index.html.

A PSEUDO MARK may be assigned to marks that include words, numbers, compound words, symbols, or acronyms that can have alternative spellings or meanings. For
example, if the mark comprises the words 'YOU ARE' surrounded by a design of a box, the pseudo mark field in the USPTO database would display the mark as 'YOU ARE
SQUARE'. A mark filed as 'URGR8' would receive a pseudo mark of 'YOU ARE GREAT'.

Response to this notice is not required; however, to suggest additions or changes to the design search code(s) or pseudo mark assigned to your mark, please e-mail
TMDesignCodeComments@USPTO.GOV. You must reference your application serial number within your request. The USPTO will review the proposal and update the
record, if appropriate. For questions, please call 1-800-786-9199 to speak to a Customer Service representative.

The USPTO will not send any further response to your e-mail. Check TESS in approximately two weeks to see if the requested changes have been entered. Requests deemed
unnecessary or inappropriate will not be entered.

To view this notice and other documents for this application on-line, go to http://tdr.uspto.gov/search.action?sn=86961925. NOTE: This notice will only be available on-line the
next business day after receipt of this e-mail.

Design search codes and pseudo marks assigned to the referenced serial number are listed below.

DESIGN SEARCH CODES:

02.03.01 - Busts of women facing forward
02.03.01 - Heads of women facing forward
02.03.01 - Portraiture of women facing forward
02.03.01 - Women - head, portraiture or busts facing forward
27.03.02 - Humans forming letters or numerals
27.03.02 - Humans forming punctuation

PSEUDO MARK:

ME MOJI




                                                                                                                                                       APL-STECH_00000176
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*** User:akertgate ***
#     Total            Dead              Live     Live     Status/    Search
       Marks            Marks            Viewed   Viewed   Search
                                         Docs     Images   Duration
01     12               6                6        6        0:01       *m{"ie"}$mo{"gj"}{"iey"}*[bi,ti]
02     361641           N/A              0        0        0:02       *m{"ie"}*[bi,ti] not dead[ld]
03     643              N/A              0        0        0:01       *mo{"jg"}{"iey"}*[bi,ti] not dead[ld]
04     58               0                58       58       0:01       2 and 3
05     17225            N/A              0        0        0:02       *m{v}{"gj"}{v}*[bi,ti] not dead[ld]
06     5839             N/A              0        0        0:01       2 and 5
07     2867             N/A              0        0        0:01       6 and "009"[cc]
08     849              N/A              0        0        0:01       6 and ("a b 200" "009")[ic]
09     26               18               8        7        0:01       *memo$1{"gj"}*[bi,ti]
10     3                1                2        2        0:01       *mimo$1{"gj"}*[bi,ti]
11     3                0                3        3        0:01       "One Monkey"[on]
12     1829             N/A              0        0        0:01       020301[dc] not dead[ld]
13     3603             N/A              0        0        0:02       270302[dc] not dead[ld]
14     33               0                3        33       0:01       12 and 13
15     712              N/A              0        0        0:02       12 and "009"[cc]
16     103              0                3        103      0:02       12 and ("a b 200" "009")[ic]
17     9008             N/A              0        0        0:02       260317[dc] not dead[ld]
18     43               0                2        43       0:01       12 and 17

Session started 7/22/2016 1:27:09 PM
Session finished 7/22/2016 1:38:19 PM
Total search duration 0 minutes 24 seconds
Session duration 11 minutes 10 seconds
Defaut NEAR limit=1ADJ limit=1



Sent to TICRS as Serial Number: 86961925




                                                                                                              APL-STECH_00000177
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                                            NOTE TO THE FILE

SERIAL NUMBER:                  86961925

DATE:                          07/22/2016

NAME:                          akertgate

NOTE:

Searched:                                       Discussed ID with:
 X     Google                                        Senior Atty
 X     Lexis/Nexis                                   Managing Atty
 X     OneLook
       Wikipedia
       Acronym Finder                                Protest evidence reviewed
       Other:

Checked:                                         Discussed Geo. Sig. with:
       Geographic significance                       Senior Atty
       Surname                                       Managing Atty
       Translation
       ID with ID/CLASS mailbox

     Checked list of approved Canadian attorneys and agents

Discussed file with
Attorney/Applicant via:
        phone                                        Left message with
        email                                        Attorney/Applicant

       Requested Law Library search                  Issued Examiner’s Amendment
       for:                                          and entered changes in TRADEUPS

          PRINT        DO NOT PRINT                Added design code in TRADEUPS
       Description of the mark
       Translation statement                         Re-imaged standard character
                                                     drawing
       Negative translation statement
       Consent of living individual                  Contacted TM MADRID ID/CLASS
                                                     about misclassified definite ID
       Changed TRADEUPS to:

       OTHER:




                                                                                       APL-STECH_00000178
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To:                   One Monkey LLC (sambonet34@gmail.com)
Subject:              U.S. TRADEMARK APPLICATION NO. 86961925 - MEMOJI - N/A
Sent:                 7/25/2016 7:36:22 AM
Sent As:              ECOM113@USPTO.GOV
Attachments:

                                   UNITED STATES PATENT AND TRADEMARK OFFICE (USPTO)
                         OFFICE ACTION (OFFICIAL LETTER) ABOUT APPLICANT’S TRADEMARK APPLICATION

         U.S. APPLICATION SERIAL NO. 86961925

         MARK: MEMOJI
                                                                             *86961925*
         CORRESPONDENT ADDRESS:
           ONE MONKEY LLC                                                    CLICK HERE TO RESPOND TO THIS LETTER:
           ONE MONKEY LLC                                                    http://www.uspto.gov/trademarks/teas/response_forms.jsp
           APT. 19
           881 NORTH HIGHLAND AVENUE NE                                      VIEW YOUR APPLICATION FILE
           ATLANTA, GA 30306
         APPLICANT: One Monkey LLC

         CORRESPONDENT’S REFERENCE/DOCKET NO :
           N/A
         CORRESPONDENT E-MAIL ADDRESS:
           sambonet34@gmail.com



                                                            OFFICE ACTION

                                    STRICT DEADLINE TO RESPOND TO THIS LETTER
TO AVOID ABANDONMENT OF APPLICANT’S TRADEMARK APPLICATION, THE USPTO MUST RECEIVE APPLICANT’S
COMPLETE RESPONSE TO THIS LETTER WITHIN 6 MONTHS OF THE ISSUE/MAILING DATE BELOW.

ISSUE/MAILING DATE: 7/25/2016

The referenced application has been reviewed by the assigned trademark examining attorney. Applicant must respond timely and completely to
the issue(s) below. 15 U.S.C. §1062(b); 37 C.F.R. §§2.62(a), 2.65(a); TMEP §§711, 718.03.

SUMMARY OF ISSUES THAT APPLICANT MUST ADDRESS:

      Explanation required as to significance of mark
      Color claim disagrees with drawing – Clarification required
      Mark description referencing color required

NO CONFLICTING MARKS FOUND
The trademark examining attorney has searched the Office’s database of registered and pending marks and has found no conflicting marks that
would bar registration under Trademark Act Section 2(d). TMEP §704.02; see 15 U.S.C. §1052(d).

However, applicant must respond to the following requirement(s) before registration can be granted.

EXPLANATION OF MARK’S SIGNIFICANCE REQUIRED
Applicant must explain whether “MEMOJI” has any meaning or significance in the industry in which the goods are manufactured, or if such
wording is a “term of art” within applicant’s industry. See 37 C.F.R. §2.61(b); TMEP §814. Applicant must also explain whether this wording
identifies a geographic place. See 37 C.F.R. §2.61(b); TMEP §814.

Further, applicant must provide additional information about this wording to enable proper examination of the application. Specifically,
applicant must respond to the following questions:




                                                                                                                                       APL-STECH_00000179
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       (1) What does the term “MEMOJI” mean, signify, or refer to, as applied to the goods listed in the application?

Failure to respond to a request for information is an additional ground for refusing registration. See In re Cheezwhse.com, Inc., 85 USPQ2d
1917, 1919 (TTAB 2008); In re DTI P’ship LLP , 67 USPQ2d 1699, 1701 (TTAB 2003); TMEP §814.

COLOR CLAIM DISAGREES WITH DRAWING – CLARIFICATION REQUIRED
The drawing shows the mark in colors that differ from those specified in the color claim. Specifically, the drawing shows the mark in the colors
black, white, gray, brown, tan, red and pink; however, the following colors appear in the color claim: black, white, brown, tan, red, pink, blue,
green and gray. The colors in the drawing, color claim, and mark description must all agree. See 37 C.F.R. §2.52(b)(1); TMEP §§807.07(a) et
seq.

In the present case, amending the mark drawing to agree with the color claim would not be considered a material alteration. However, any other
amendments to the drawing will not be accepted if such changes would materially alter the mark. 37 C.F.R. §2.72; see TMEP §§807.07(c),
807.14 et seq.

Therefore, applicant must submit one of the following:

       (1) A substitute color drawing that shows the mark in the colors specified in the color. TMEP §807.07(c).

       (2) A corrected color claim that agrees with the colors shown on the drawing. Generic color names must be used to describe the colors in
       the mark, e.g., magenta, yellow, turquoise. TMEP §807.07(a)(i)-(ii). If black, white, and/or gray are not being claimed as a color feature
       of the mark, applicant must exclude them from the color claim and include in the mark description a statement that the colors black,
       white, and/or gray represent background, outlining, shading, and/or transparent areas and are not part of the mark. See TMEP §807.07(d).
        The following color claim is suggested:

               Color claim: “ The colors black, white, gray, brown, tan, red and pink are claimed as a feature of the mark.”

MARK DESCRIPTION REFERENCING COLOR REQUIRED
Applicant has submitted a color drawing and provided a color claim, but has not provided the required description specifying where color appears
in the literal and design elements in the mark. See 37 C.F.R. §§2.37, 2.52(b)(1); TMEP §807.07(a)-(a)(ii).

Generic color names must be used to describe the colors in the mark, e.g., magenta, yellow, turquoise. TMEP §807.07(a)(i)-(ii). If black, white,
and/or gray are not being claimed as a color feature of the mark, applicant must exclude them from the color claim and include in the mark
description a statement that the colors black, white, and/or gray represent background, outlining, shading, and/or transparent areas and are not
part of the mark. See TMEP §807.07(d).

Therefore, applicant must provide a mark description that specifies where all the colors appear in the literal and design elements in the mark. See
TMEP §807.07(a)(ii). The following is suggested, if accurate:

       The mark consists of the stylized wording “MEMOJI” appearing in white on a black background with a white oval with gray
       highlighting replacing the letter “O”, a woman’s cross-eyed face appearing within the oval with brown hair, tan skin, brown
       eyebrows, black and white eyes, pink cheeks and red lips. A partial reflection of the wording and design appears inverted directly
       below “MEMOJI” in gray, tan, brown, black red and pink.

GUIDELINES FOR RESPONDING TO THIS OFFICE ACTION
For this application to proceed further, applicant must explicitly address each refusal and/or requirement raised in this Office action. If the
action includes a refusal, applicant may provide arguments and/or evidence as to why the refusal should be withdrawn and the mark should
register. Applicant may also have other options for responding to a refusal and should consider such options carefully. To respond to
requirements and certain refusal response options, applicant should set forth in writing the required changes or statements. For more
information and general tips on responding to USPTO Office actions, response options, and how to file a response online, see “ Responding to
Office Actions” on the USPTO’s website.

If applicant does not respond to this Office action within six months of the issue/mailing date, or responds by expressly abandoning the
application, the application process will end and the trademark will fail to register. See 15 U.S.C. §1062(b); 37 C.F.R. §§2.65(a), 2.68(a); TMEP
§§718.01, 718.02. Additionally, the USPTO will not refund the application filing fee, which is a required processing fee. See 37 C.F.R.
§§2.6(a)(1)(i)-(iv), 2.209(a); TMEP §405.04.

Where the application has been abandoned for failure to respond to an Office action, applicant’s only option would be to file a timely petition to
revive the application, which, if granted, would allow the application to return to active status. See 37 C.F.R. §2.66; TMEP §1714. There is a
$100 fee for such petitions. See 37 C.F.R. §§2.6, 2.66(b)(1).




                                                                                                                             APL-STECH_00000180
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If applicant has questions regarding this Office action, please telephone or e-mail the assigned trademark examining attorney. All relevant e-
mail communications will be placed in the official application record; however, an e-mail communication will not be accepted as a response to
this Office action and will not extend the deadline for filing a proper response. See 37 C.F.R. §§2.62(c), 2.191; TMEP §§304.01-.02, 709.04-.05.
Further, although the trademark examining attorney may provide additional explanation pertaining to the refusal(s) and/or requirement(s) in this
Office action, the trademark examining attorney may not provide legal advice or statements about applicant’s rights. See TMEP §§705.02,
709.06.




                                                /Amy L. Kertgate/
                                                Examining Attorney
                                                Law Office 113
                                                Tel: (571) 272-1943
                                                Email: amy.kertgate@uspto.gov

TO RESPOND TO THIS LETTER: Go to http://www.uspto.gov/trademarks/teas/response_forms.jsp. Please wait 48-72 hours from the
issue/mailing date before using the Trademark Electronic Application System (TEAS), to allow for necessary system updates of the application.
For technical assistance with online forms, e-mail TEAS@uspto.gov. For questions about the Office action itself, please contact the assigned
trademark examining attorney. E-mail communications will not be accepted as responses to Office actions; therefore, do not respond to
this Office action by e-mail.

All informal e-mail communications relevant to this application will be placed in the official application record.

WHO MUST SIGN THE RESPONSE: It must be personally signed by an individual applicant or someone with legal authority to bind an
applicant (i.e., a corporate officer, a general partner, all joint applicants). If an applicant is represented by an attorney, the attorney must sign the
response.

PERIODICALLY CHECK THE STATUS OF THE APPLICATION: To ensure that applicant does not miss crucial deadlines or official
notices, check the status of the application every three to four months using the Trademark Status and Document Retrieval (TSDR) system at
http://tsdr.uspto.gov/. Please keep a copy of the TSDR status screen. If the status shows no change for more than six months, contact the
Trademark Assistance Center by e-mail at TrademarkAssistanceCenter@uspto.gov or call 1-800-786-9199. For more information on checking
status, see http://www.uspto.gov/trademarks/process/status/.

TO UPDATE CORRESPONDENCE/E-MAIL ADDRESS: Use the TEAS form at http://www.uspto.gov/trademarks/teas/correspondence.jsp.




                                                                                                                                   APL-STECH_00000181
                 Case 3:18-cv-05945-VC Document 125-3 Filed 10/30/19 Page 19 of 123


To:                   One Monkey LLC (sambonet34@gmail.com)
Subject:              U.S. TRADEMARK APPLICATION NO. 86961925 - MEMOJI - N/A
Sent:                 7/25/2016 7:36:23 AM
Sent As:              ECOM113@USPTO.GOV
Attachments:

                           UNITED STATES PATENT AND TRADEMARK OFFICE (USPTO)



                                     IMPORTANT NOTICE REGARDING YOUR
                                        U.S. TRADEMARK APPLICATION

                                USPTO OFFICE ACTION (OFFICIAL LETTER) HAS ISSUED
                                ON 7/25/2016 FOR U.S. APPLICATION SERIAL NO. 86961925

Your trademark application has been reviewed. The trademark examining attorney assigned by the USPTO to your application has written an
official letter to which you must respond. Please follow these steps:

(1) READ THE LETTER by clicking on this link or going to http://tsdr.uspto.gov/, entering your U.S. application serial number, and clicking
on “Documents.”

The Office action may not be immediately viewable, to allow for necessary system updates of the application, but will be available within 24
hours of this e-mail notification.

(2) RESPOND WITHIN 6 MONTHS (or sooner if specified in the Office action), calculated from 7/25/2016, using the Trademark Electronic
Application System (TEAS) response form located at http://www.uspto.gov/trademarks/teas/response_forms.jsp.

Do NOT hit “Reply” to this e-mail notification, or otherwise e-mail your response because the USPTO does NOT accept e-mails as
responses to Office actions.

(3) QUESTIONS about the contents of the Office action itself should be directed to the trademark examining attorney who reviewed your
application, identified below.

/Amy L. Kertgate/
Examining Attorney
Law Office 113
Tel: (571) 272-1943
Email: amy.kertgate@uspto.gov


                                                              WARNING

Failure to file the required response by the applicable response deadline will result in the ABANDONMENT of your application. For
more information regarding abandonment, see http://www.uspto.gov/trademarks/basics/abandon.jsp.

PRIVATE COMPANY SOLICITATIONS REGARDING YOUR APPLICATION: Private companies not associated with the USPTO are
using information provided in trademark applications to mail or e-mail trademark-related solicitations. These companies often use names that
closely resemble the USPTO and their solicitations may look like an official government document. Many solicitations require that you pay
“fees.”

Please carefully review all correspondence you receive regarding this application to make sure that you are responding to an official document
from the USPTO rather than a private company solicitation. All official USPTO correspondence will be mailed only from the “United States
Patent and Trademark Office” in Alexandria, VA; or sent by e-mail from the domain “@uspto.gov.” For more information on how to handle
private company solicitations, see http://www.uspto.gov/trademarks/solicitation_warnings.jsp.




                                                                                                                        APL-STECH_00000182
Case 3:18-cv-05945-VC Document 125-3 Filed 10/30/19 Page 20 of 123




                                                               APL-STECH_00000183
                              Case 3:18-cv-05945-VC Document 125-3 Filed 10/30/19 Page 21 of 123

Under the Paperwork Reduction Act of 1995 no persons are required to respond to a collection of information unless it displays a valid OMB control number.
PTO Form 1957 (Rev 10/2011)
OMB No. 0651-0050 (Exp 07/31/2017)


                                                              Response to Office Action


                                                     The table below presents the data as entered.

                                     Input Field                                                                     Entered
 SERIAL NUMBER                                                         86961925
 LAW OFFICE ASSIGNED                                                   LAW OFFICE 113
 MARK SECTION
 MARK FILE NAME                                                        https://tmng-al.uspto.gov/resting2/api/img/86961925/large
 LITERAL ELEMENT                                                       MEMOJI
 STANDARD CHARACTERS                                                   NO
 USPTO-GENERATED IMAGE                                                 NO
 COLOR(S) CLAIMED                                                      The color(s) black, white, brown, tan, red, pink, blue, green, gray is/are claimed as a
 (If applicable)                                                       feature of the mark.
 DESCRIPTION OF THE MARK                                               The mark consists of white reflective letters spelling "MeMOJI" on a black
 (and Color Location, if applicable)                                   background, with a female face inside the "o".
 ADDITIONAL STATEMENTS SECTION
 COLOR(S) CLAIMED                                                      The color(s) black, white, gray, brown, tan, red and pink is/are claimed as a feature
 (If applicable)                                                       of the mark.
                                                                       The mark consists of the stylized wording "MEMOJI" appearing in white on a black
                                                                       background with a white oval with gray highlighting replacing the letter "O", a
 DESCRIPTION OF THE MARK                                               woman's cross-eyed face appearing within the oval with brown hair, tan skin, brown
 (and Color Location, if applicable)                                   eyebrows, black and white eyes, pink cheeks and red lips. A partial reflection of the
                                                                       wording and design appears inverted directly below "MEMOJI" in gray, tan, brown,
                                                                       black red and pink.
                                                                       memoji appearing in the mark means or signifies or is a term of art for combining
                                                                       the words "me" and "emoji", which is a mobile application that takes the user's self
 SIGNIFICANCE OF MARK                                                  portrait and turns the file into an emoji in the relevant trade or industry or as used in
                                                                       connection with the goods/services/collective membership organization listed in the
                                                                       application.
 SIGNATURE SECTION
 RESPONSE SIGNATURE                                                    /Samuel Bonet/
 SIGNATORY'S NAME                                                      Samuel Bonet
 SIGNATORY'S POSITION                                                  Owner
 SIGNATORY'S PHONE NUMBER                                              6783584965
 DATE SIGNED                                                           01/16/2017
 AUTHORIZED SIGNATORY                                                  YES
 FILING INFORMATION SECTION
 SUBMIT DATE                                                           Mon Jan 16 21:03:00 EST 2017
                                                                       USPTO/ROA-XX.XXX.XXX.XX-2
                                                                       0170116210300621586-86961




                                                                                                                                                    APL-STECH_00000184
                              Case 3:18-cv-05945-VC Document 125-3 Filed 10/30/19 Page 22 of 123

                                                                       925-580fd47b71aff0d2c83d7
 TEAS STAMP
                                                                       9b210eeadcdf949db5f387c05
                                                                       4bf92a516627cfc269-N/A-N/
                                                                       A-20170116205542427903




Under the Paperwork Reduction Act of 1995 no persons are required to respond to a collection of information unless it displays a valid OMB control number.
PTO Form 1957 (Rev 10/2011)
OMB No. 0651-0050 (Exp 07/31/2017)




                                                                   Response to Office Action
To the Commissioner for Trademarks:
Application serial no. 86961925 MEMOJI (Stylized and/or with Design, see https://tmng-al.uspto.gov/resting2/api/img/86961925/large) has been
amended as follows:

ADDITIONAL STATEMENTS
Color Claim
The color(s) black, white, gray, brown, tan, red and pink is/are claimed as a feature of the mark.

Description of mark
The mark consists of the stylized wording "MEMOJI" appearing in white on a black background with a white oval with gray highlighting
replacing the letter "O", a woman's cross-eyed face appearing within the oval with brown hair, tan skin, brown eyebrows, black and white eyes,
pink cheeks and red lips. A partial reflection of the wording and design appears inverted directly below "MEMOJI" in gray, tan, brown, black red
and pink.

Significance of wording, letter(s), or numeral(s)
memoji appearing in the mark means or signifies or is a term of art for combining the words "me" and "emoji", which is a mobile application that
takes the user's self portrait and turns the file into an emoji in the relevant trade or industry or as used in connection with the
goods/services/collective membership organization listed in the application.


SIGNATURE(S)
Response Signature
Signature: /Samuel Bonet/ Date: 01/16/2017
Signatory's Name: Samuel Bonet
Signatory's Position: Owner

Signatory's Phone Number: 6783584965

The signatory has confirmed that he/she is not represented by either an authorized attorney or Canadian attorney/agent, and that he/she is either:
(1) the owner/holder ; or (2) a person(s) with legal authority to bind the owner/holder; and if an authorized U.S. attorney or Canadian
attorney/agent previously represented him/her in this matter, either he/she has filed a signed revocation of power of attorney with the USPTO or
the USPTO has granted the request of his/her prior representative to withdraw.


Serial Number: 86961925
Internet Transmission Date: Mon Jan 16 21:03:00 EST 2017
TEAS Stamp: USPTO/ROA-XX.XXX.XXX.XX-2017011621030062
1586-86961925-580fd47b71aff0d2c83d79b210
eeadcdf949db5f387c054bf92a516627cfc269-N
/A-N/A-20170116205542427903




                                                                                                                                                    APL-STECH_00000185
                Case 3:18-cv-05945-VC Document 125-3 Filed 10/30/19 Page 23 of 123


                                    Trademark Snap Shot Amendment & Mail Processing Stylesheet
                                        (Table presents the data on Amendment & Mail Processing Complete)



                                                                OVERVIEW
SERIAL NUMBER                                  86961925                  FILING DATE                                04/01/2016

REG NUMBER                                      0000000                  REG DATE                                      N/A

REGISTER                                      PRINCIPAL                  MARK TYPE                                  TRADEMARK

INTL REG #                                            N/A                INTL REG DATE                                 N/A

TM ATTORNEY                               KERTGATE, AMY L                L.O. ASSIGNED                                 113



                                                            PUB INFORMATION
RUN DATE                         02/11/2017

PUB DATE                         N/A

STATUS                           661-RESPONSE AFTER NON-FINAL-ACTION-ENTERED

STATUS DATE                      02/10/2017

LITERAL MARK ELEMENT             MEMOJI


DATE ABANDONED                                        N/A                DATE CANCELLED                                N/A

SECTION 2F                                            NO                 SECTION 2F IN PART                            NO

SECTION 8                                             NO                 SECTION 8 IN PART                             NO

SECTION 15                                            NO                 REPUB 12C                                     N/A

RENEWAL FILED                                         NO                 RENEWAL DATE                                  N/A

DATE AMEND REG                                        N/A



                                                               FILING BASIS
                 FILED BASIS                                    CURRENT BASIS                                AMENDED BASIS

1 (a)                          NO             1 (a)                                 NO               1 (a)                   NO

1 (b)                          YES            1 (b)                                 YES              1 (b)                   NO

44D                            NO             44D                                   NO               44D                     NO

44E                            NO             44E                                   NO               44E                     NO

66A                            NO             66A                                   NO

NO BASIS                       NO             NO BASIS                              NO



                                                               MARK DATA
STANDARD CHARACTER MARK                                                  NO

LITERAL MARK ELEMENT                                                     MEMOJI

MARK DRAWING CODE                                                        3-AN ILLUSTRATION DRAWING WHICH INCLUDES
                                                                         WORD(S)/LETTER(S)/NUMBER(S)

COLOR DRAWING FLAG                                                       YES



                                                 CURRENT OWNER INFORMATION
PARTY TYPE                                                               11-SUBSEQUENT OWNER BEFORE PUBLICATION

NAME                                                                     SOCIAL TECHNOLOGIES LLC

ADDRESS                                                                  881 N. HIGHLAND AVENUE NE
                                                                         APT. 19
                                                                         ATLANTA, GA 30306




                                                                                                                      APL-STECH_00000186
                 Case 3:18-cv-05945-VC Document 125-3 Filed 10/30/19 Page 24 of 123

ENTITY                                                          16-LTD LIAB CO

CITIZENSHIP                                                     Georgia



                                                 GOODS AND SERVICES
INTERNATIONAL CLASS                                             009

       DESCRIPTION TEXT                                         Computer application software for mobile phones, namely, software for recording,
                                                                editing, and distributing images, videos, and audio.; Computer application software
                                                                for mobile phones, computers, and tablets, namely, software for recording, editing,
                                                                and distributing images, videos, and audio.; Downloadable mobile applications for
                                                                recording, editing, and distributing images, videos, and audio.; Downloadable
                                                                software in the nature of a mobile application for recording, editing, and distributing
                                                                images, videos, and audio




                                       GOODS AND SERVICES CLASSIFICATION
INTERNATIONAL     009         FIRST USE DATE   NONE             FIRST USE IN          NONE                   CLASS STATUS           6-ACTIVE
CLASS                                                           COMMERCE
                                                                DATE



                                    MISCELLANEOUS INFORMATION/STATEMENTS
CHANGE IN REGISTRATION                                          NO

COLORS CLAIMED STATEMENT                                        The color(s) black, white, gray, brown, tan, red and pink is/are claimed as a feature
                                                                of the mark.

DESCRIPTION OF MARK                                             The mark consists of the stylized wording "MEMOJI" appearing in white on a black
                                                                background with a white oval with gray highlighting replacing the letter "O", a
                                                                woman's cross-eyed face appearing within the oval with brown hair, tan skin, brown
                                                                eyebrows, black and white eyes, pink cheeks and red lips. A partial reflection of the
                                                                wording and design appears inverted directly below "MEMOJI" in gray, tan, brown,
                                                                black red and pink.

PSEUDO MARK                                                     ME MOJI



                                                 PROSECUTION HISTORY
DATE                       ENT CD     ENT TYPE    DESCRIPTION                                                                              ENT NUM

02/10/2017                 TEME           I       TEAS/EMAIL CORRESPONDENCE ENTERED                                                            012

02/10/2017                 CRFA           I       CORRESPONDENCE RECEIVED IN LAW OFFICE                                                        011

02/02/2017                  ALIE         A        ASSIGNED TO LIE                                                                              010

01/18/2017                 ASGN           I       AUTOMATIC UPDATE OF ASSIGNMENT OF OWNERSHIP                                                  009

01/16/2017                 TROA           I       TEAS RESPONSE TO OFFICE ACTION RECEIVED                                                      008

07/25/2016                 GNRN          O        NOTIFICATION OF NON-FINAL ACTION E-MAILED                                                    007

07/25/2016                 GNRT          F        NON-FINAL ACTION E-MAILED                                                                    006

07/25/2016                 CNRT          R        NON-FINAL ACTION WRITTEN                                                                     005

07/15/2016                 DOCK          D        ASSIGNED TO EXAMINER                                                                         004

04/07/2016                 MDSM          E        NOTICE OF DESIGN SEARCH CODE AND PSEUDO MARK E-MAILED                                        003

04/06/2016                 NWOS           I       NEW APPLICATION OFFICE SUPPLIED DATA ENTERED IN TRAM                                         002

04/05/2016                 NWAP           I       NEW APPLICATION ENTERED IN TRAM                                                              001



                                    CURRENT CORRESPONDENCE INFORMATION
ATTORNEY                                                        NONE

CORRESPONDENCE ADDRESS                                          ONE MONKEY LLC
                                                                APT. 19
                                                                881 NORTH HIGHLAND AVENUE NE
                                                                ATLANTA, GA 30306

DOMESTIC REPRESENTATIVE                                         NONE




                                                                                                                                APL-STECH_00000187
              Case 3:18-cv-05945-VC Document 125-3 Filed 10/30/19 Page 25 of 123


                                   PRIOR OWNER INFORMATION
PARTY TYPE                                     10-ORIGINAL APPLICANT

NAME                                           One Monkey LLC

ADDRESS                                        881 North Highland Avenue NE
                                               Apt. 19
                                               Atlanta, GA 30306

ENTITY                                         03-CORPORATION

CITIZENSHIP                                    Georgia




                                                                              APL-STECH_00000188
Case 3:18-cv-05945-VC Document 125-3 Filed 10/30/19 Page 26 of 123




                                                               APL-STECH_00000189
                  Case 3:18-cv-05945-VC Document 125-3 Filed 10/30/19 Page 27 of 123


To:                    SOCIAL TECHNOLOGIES LLC (sambonet34@gmail.com)
Subject:               U.S. TRADEMARK APPLICATION NO. 86961925 - MEMOJI - N/A
Sent:                  3/3/2017 3:24:16 PM
Sent As:               ECOM113@USPTO.GOV
Attachments:

                                    UNITED STATES PATENT AND TRADEMARK OFFICE (USPTO)
                          OFFICE ACTION (OFFICIAL LETTER) ABOUT APPLICANT’S TRADEMARK APPLICATION

         U.S. APPLICATION SERIAL NO. 86961925

         MARK: MEMOJI
                                                                               *86961925*
         CORRESPONDENT ADDRESS:
           ONE MONKEY LLC                                                      CLICK HERE TO RESPOND TO THIS LETTER:
           APT. 19                                                             http://www.uspto.gov/trademarks/teas/response_forms.jsp
           881 NORTH HIGHLAND AVENUE NE
           ATLANTA, GA 30306                                                   VIEW YOUR APPLICATION FILE

         APPLICANT: SOCIAL TECHNOLOGIES LLC

         CORRESPONDENT’S REFERENCE/DOCKET NO :
           N/A
         CORRESPONDENT E-MAIL ADDRESS:
           sambonet34@gmail.com



                                                            PRIORITY ACTION

                                     STRICT DEADLINE TO RESPOND TO THIS LETTER
TO AVOID ABANDONMENT OF APPLICANT’S TRADEMARK APPLICATION, THE USPTO MUST RECEIVE APPLICANT’S
COMPLETE RESPONSE TO THIS LETTER WITHIN 6 MONTHS OF THE ISSUE/MAILING DATE BELOW. A RESPONSE
TRANSMITTED THROUGH THE TRADEMARK ELECTRONIC APPLICATION SYSTEM (TEAS) MUST BE RECEIVED BEFORE
MIDNIGHT EASTERN TIME OF THE LAST DAY OF THE RESPONSE PERIOD.


ISSUE/MAILING DATE: 3/3/2017



ISSUES APPLICANT MUST ADDRESS: On March 3, 2017, the trademark examining attorney and Samuel Bonet discussed the issues
below. Applicant must timely respond to these issues. See 15 U.S.C. §1062(b); 37 C.F.R. §2.62(a); TMEP §§708, 711.

PLEASE NOTE: Based on applicant’s response of January 16, 2017, the requirements for an explanation as to the significance of the mark,
clarification regarding the colors in the mark, and for an acceptable description of the mark have all been SATISFIED.

However, upon further consideration of the application, the examining attorney makes the following requirement. Applicant must respond to the
following requirement before registration can be granted.

Inquiry Regarding Portrait in the Mark
Applicant must clarify whether the portrait appearing within the letter “O” in “MEMOJI” in the mark identifies a particular living individual.
See 37 C.F.R. §2.61(b); TMEP §§813, 1206.03. In this case, the application neither specifies whether the portrait in the mark identifies a
particular living individual nor includes a written consent. See TMEP §§813.01(a)-(b), 1206.04(a), 1206.05.

To register a mark that consists of or comprises a portrait or likeness of a particular living individual, an applicant must provide a written consent
personally signed by the shown individual. 15 U.S.C. §1052(c); TMEP §§813, 1206.04(a).

In this case, in a telephone call with the Examining Attorney on March 3, 2017, applicant indicated that the portrait shown in the mark does




                                                                                                                                         APL-STECH_00000190
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identify a particular living individual. Thus, applicant must submit both of the following:

        (1) The following statement: “The portrait(s) or likeness(es) shown in the mark identifies a living individual(s) whose consent(s) to
        register is made of record.”

        (2) A written consent, personally signed by the named individual(s), as follows: “I, ___________________ {specify name}, consent to
        the use and registration of my likeness as a trademark and/or service mark with the USPTO.”

For an overview of the requirements pertaining to portraits or likenesses appearing in marks, and instructions on how to satisfy this requirement
online    using     the     Trademark      Electronic      Application      System      (TEAS)       response      form,     please      go    to
http://www.uspto.gov/trademarks/law/consent.jsp.

Failing to respond to this inquiry may result in a refusal to register the mark. See In re Cheezwhse.com, Inc., 85 USPQ2d 1917, 1919 (TTAB
2008); TMEP §814.

Guidelines for Responding to this Priority Action
For this application to proceed further, applicant must explicitly address each refusal and/or requirement raised in this Office action. If the action
includes a refusal, applicant may provide arguments and/or evidence as to why the refusal should be withdrawn and the mark should register.
Applicant may also have other options specified in this Office action for responding to a refusal and should consider those options carefully. To
respond to requirements and certain refusal response options, applicant should set forth in writing the required changes or statements.
For more information and general tips on responding to USPTO Office actions, response options, and how to file a response online,
see “ Responding to Office Actions” on the USPTO’s website.

If applicant does not respond to this Office action within six months of the issue/mailing date, or responds by expressly abandoning the
application, the application process will end and the trademark will fail to register. See 15 U.S.C. §1062(b); 37 C.F.R. §§2.65(a), 2.68(a); TMEP
§§718.01, 718.02. Additionally, the USPTO will not refund the application filing fee, which is a required processing fee. See 37 C.F.R.
§§2.6(a)(1)(i)-(iv), 2.209(a); TMEP §405.04.

When an application has abandoned for failure to respond to an Office action, an applicant may timely file a petition to revive the application,
which, if granted, would allow the application to return to active status. See 37 C.F.R. §2.66; TMEP §1714. The petition must be filed within
two months of the date of issuance of the notice of abandonment and may be filed online via the Trademark Electronic Application System
(TEAS) with a $100 fee. See 37 C.F.R. §§2.6(a)(15)(ii), 2.66(b)(1).

If applicant has questions regarding this Office action, please telephone or e-mail the assigned trademark examining attorney. All relevant e-
mail communications will be placed in the official application record; however, an e-mail communication will not be accepted as a response to
this Office action and will not extend the deadline for filing a proper response. See 37 C.F.R. §§2.62(c), 2.191; TMEP §§304.01-.02, 709.04-
.05. Further, although the trademark examining attorney may provide additional explanation pertaining to the refusal(s) and/or requirement(s) in
this Office action, the trademark examining attorney may not provide legal advice or statements about applicant’s rights. See TMEP §§705.02,
709.06.


                                                /Amy L. Kertgate/
                                                Examining Attorney
                                                Law Office 113
                                                Tel: (571) 272-1943
                                                Email: amy.kertgate@uspto.gov

TO RESPOND TO THIS LETTER: Go to http://www.uspto.gov/trademarks/teas/response_forms.jsp. Please wait 48-72 hours from the
issue/mailing date before using the Trademark Electronic Application System (TEAS), to allow for necessary system updates of the application.
For technical assistance with online forms, e-mail TEAS@uspto.gov. For questions about the Office action itself, please contact the assigned
trademark examining attorney. E-mail communications will not be accepted as responses to Office actions; therefore, do not respond to
this Office action by e-mail.

All informal e-mail communications relevant to this application will be placed in the official application record.

WHO MUST SIGN THE RESPONSE: It must be personally signed by an individual applicant or someone with legal authority to bind an
applicant (i.e., a corporate officer, a general partner, all joint applicants). If an applicant is represented by an attorney, the attorney must sign the
response.

PERIODICALLY CHECK THE STATUS OF THE APPLICATION: To ensure that applicant does not miss crucial deadlines or official
notices, check the status of the application every three to four months using the Trademark Status and Document Retrieval (TSDR) system at




                                                                                                                                   APL-STECH_00000191
                 Case 3:18-cv-05945-VC Document 125-3 Filed 10/30/19 Page 29 of 123

http://tsdr.uspto.gov/. Please keep a copy of the TSDR status screen. If the status shows no change for more than six months, contact the
Trademark Assistance Center by e-mail at TrademarkAssistanceCenter@uspto.gov or call 1-800-786-9199. For more information on checking
status, see http://www.uspto.gov/trademarks/process/status/.

TO UPDATE CORRESPONDENCE/E-MAIL ADDRESS: Use the TEAS form at http://www.uspto.gov/trademarks/teas/correspondence.jsp.




                                                                                                                      APL-STECH_00000192
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To:                   SOCIAL TECHNOLOGIES LLC (sambonet34@gmail.com)
Subject:              U.S. TRADEMARK APPLICATION NO. 86961925 - MEMOJI - N/A
Sent:                 3/3/2017 3:24:17 PM
Sent As:              ECOM113@USPTO.GOV
Attachments:

                           UNITED STATES PATENT AND TRADEMARK OFFICE (USPTO)



                                     IMPORTANT NOTICE REGARDING YOUR
                                        U.S. TRADEMARK APPLICATION

                                USPTO OFFICE ACTION (OFFICIAL LETTER) HAS ISSUED
                                ON 3/3/2017 FOR U.S. APPLICATION SERIAL NO. 86961925

Your trademark application has been reviewed. The trademark examining attorney assigned by the USPTO to your application has written an
official letter to which you must respond. Please follow these steps:

(1) READ THE LETTER by clicking on this link or going to http://tsdr.uspto.gov/, entering your U.S. application serial number, and clicking
on “Documents.”

The Office action may not be immediately viewable, to allow for necessary system updates of the application, but will be available within 24
hours of this e-mail notification.

(2) RESPOND WITHIN 6 MONTHS (or sooner if specified in the Office action), calculated from 3/3/2017, using the Trademark Electronic
Application System (TEAS) response form located at http://www.uspto.gov/trademarks/teas/response_forms.jsp. A response transmitted through
TEAS must be received before midnight Eastern Time of the last day of the response period.

Do NOT hit “Reply” to this e-mail notification, or otherwise e-mail your response because the USPTO does NOT accept e-mails as
responses to Office actions.

(3) QUESTIONS about the contents of the Office action itself should be directed to the trademark examining attorney who reviewed your
application, identified below.

/Amy L. Kertgate/
Examining Attorney
Law Office 113
Tel: (571) 272-1943
Email: amy.kertgate@uspto.gov


                                                              WARNING

Failure to file the required response by the applicable response deadline will result in the ABANDONMENT of your application. For
more information regarding abandonment, see http://www.uspto.gov/trademarks/basics/abandon.jsp.

PRIVATE COMPANY SOLICITATIONS REGARDING YOUR APPLICATION: Private companies not associated with the USPTO are
using information provided in trademark applications to mail or e-mail trademark-related solicitations. These companies often use names that
closely resemble the USPTO and their solicitations may look like an official government document. Many solicitations require that you pay
“fees.”

Please carefully review all correspondence you receive regarding this application to make sure that you are responding to an official document
from the USPTO rather than a private company solicitation. All official USPTO correspondence will be mailed only from the “United States
Patent and Trademark Office” in Alexandria, VA; or sent by e-mail from the domain “@uspto.gov.” For more information on how to handle




                                                                                                                        APL-STECH_00000193
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private company solicitations, see http://www.uspto.gov/trademarks/solicitation_warnings.jsp.




                                                                                                APL-STECH_00000194
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Side - 1




                                                NOTICE OF ABANDONMENT
                                                MAILING DATE: Oct 3, 2017



The trademark application identified below was abandoned in full because a response to the Office Action mailed on Mar 3, 2017 was not received
within the 6-month response period.

If the delay in filing a response was unintentional, you may file a petition to revive the application with a fee. If the abandonment of this application
was due to USPTO error, you may file a request for reinstatement. Please note that a petition to revive or request for reinstatement must be
received within two months from the mailing date of this notice.

For additional information, go to http://www.uspto.gov/teas/petinfo.htm. If you are unable to get the information you need from the website, call the
Trademark Assistance Center at 1-800-786-9199.

SERIAL NUMBER:                 86961925
MARK:                          MEMOJI
OWNER:                         SOCIAL TECHNOLOGIES LLC

Side - 2
UNITED STATES PATENT AND TRADEMARK OFFICE
COMMISSIONER FOR TRADEMARKS                                                                                                       FIRST-CLASS MAIL
P.O. BOX 1451                                                                                                                       U.S POSTAGE
ALEXANDRIA, VA 22313-1451                                                                                                               PAID




                                                       ONE MONKEY LLC
                                                       APT. 19
                                                       881 NORTH HIGHLAND AVENUE NE
                                                       ATLANTA , GA 30306




                                                                                                                                      APL-STECH_00000195
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Under the Paperwork Reduction Act of 1995 no persons are required to respond to a collection of information unless it displays a valid OMB control number.
PTO Form 2194 (Rev 03/2012)
OMB No. 0651-0054 (Exp 10/31/2017)


 Petition To Revive Abandoned Application - Failure To Respond Timely To Office Action


                                                     The table below presents the data as entered.

                                     Input Field                                                                     Entered
 SERIAL NUMBER                                                         86961925
 LAW OFFICE ASSIGNED                                                   LAW OFFICE 113
 DATE OF NOTICE OF ABANDONMENT                                         10/03/2017
 PETITION
                                                                       Applicant has firsthand knowledge that the failure to respond to the Office Action by
 PETITION STATEMENT                                                    the specified deadline was unintentional, and requests the USPTO to revive the
                                                                       abandoned application.
 RESPONSE TO OFFICE ACTION
 MARK SECTION
 MARK FILE NAME                                                        https://tmng-al.uspto.gov/resting2/api/img/86961925/large
 LITERAL ELEMENT                                                       MEMOJI
 STANDARD CHARACTERS                                                   NO
 USPTO-GENERATED IMAGE                                                 NO
 COLOR(S) CLAIMED                                                      The color(s) black, white, gray, brown, tan, red and pink is/are claimed as a feature
 (If applicable)                                                       of the mark.
                                                                       The mark consists of the stylized wording "MEMOJI" appearing in white on a black
                                                                       background with a white oval with gray highlighting replacing the letter "O", a
 DESCRIPTION OF THE MARK                                               woman's cross-eyed face appearing within the oval with brown hair, tan skin, brown
 (and Color Location, if applicable)                                   eyebrows, black and white eyes, pink cheeks and red lips. A partial reflection of the
                                                                       wording and design appears inverted directly below "MEMOJI" in gray, tan, brown,
                                                                       black red and pink.
 ADDITIONAL STATEMENTS SECTION
 NAME(S), PORTRAITS(S), SIGNATURE(S) OF                                The name(s), portrait(s), and/or signature(s) shown in the mark identifies Nicole
 INDIVIDUAL(S)                                                         Martin, whose consent(s) to register is made of record.
        CONSENT FILE NAME(S)

       ORIGINAL PDF FILE                                               consent-24992357-105116247_._Memoij_Nicole_Permission.pdf
       CONVERTED PDF FILE(S)
                                                                       \\TICRS\EXPORT17\IMAGEOUT17\869\619\86961925\xml5\POA0002.JPG
       (1 page)

 PAYMENT SECTION
 TOTAL AMOUNT                                                          100
 TOTAL FEES DUE                                                        100
 SIGNATURE SECTION
 PETITION SIGNATURE                                                    /Samuel E. Bonet/
 SIGNATORY'S NAME                                                      Samuel E. Bonet
 SIGNATORY'S POSITION                                                  Owner




                                                                                                                                                    APL-STECH_00000196
                              Case 3:18-cv-05945-VC Document 125-3 Filed 10/30/19 Page 34 of 123

 SIGNATORY'S PHONE NUMBER                                              6783584965
 DATE SIGNED                                                           10/08/2017
 RESPONSE SIGNATURE                                                    /Samuel E. Bonet/
 SIGNATORY'S NAME                                                      Samuel E. Bonet
 SIGNATORY'S POSITION                                                  Owner
 SIGNATORY'S PHONE NUMBER                                              6783584965
 DATE SIGNED                                                           10/08/2017
 AUTHORIZED SIGNATORY                                                  YES
 FILING INFORMATION SECTION
 SUBMIT DATE                                                           Sun Oct 08 11:04:12 EDT 2017
                                                                       USPTO/POA-XX.XX.XX.XX-201
                                                                       71008110412159902-8696192
                                                                       5-5109069ca61aee94e2990ab
 TEAS STAMP
                                                                       5e536428280bc73ddf85f4e48
                                                                       555ebf60b8a83d9614-CC-691
                                                                       3-20171008105116247855




Under the Paperwork Reduction Act of 1995 no persons are required to respond to a collection of information unless it displays a valid OMB control number.
PTO Form 2194 (Rev 03/2012)
OMB No. 0651-0054 (Exp 10/31/2017)




          Petition To Revive Abandoned Application - Failure To Respond Timely To Office Action
To the Commissioner for Trademarks:
Application serial no. 86961925 MEMOJI (Stylized and/or with Design, see https://tmng-al.uspto.gov/resting2/api/img/86961925/large) has been
amended as follows:

PETITION

Petition Statement
Applicant has firsthand knowledge that the failure to respond to the Office Action by the specified deadline was unintentional, and requests the
USPTO to revive the abandoned application.

RESPONSE TO OFFICE ACTION

ADDITIONAL STATEMENTS
Name(s), Portrait(s), Signature(s) of individual(s)
The name(s), portrait(s), and/or signature(s) shown in the mark identifies Nicole Martin, whose consent(s) to register is made of record.

Original PDF file:
consent-24992357-105116247_._Memoij_Nicole_Permission.pdf
Converted PDF file(s) ( 1 page)
Consent File1

FEE(S)
Fee(s) in the amount of $100 is being submitted.

SIGNATURE(S)

Signature: /Samuel E. Bonet/  Date: 10/08/2017
Signatory's Name: Samuel E. Bonet




                                                                                                                                                    APL-STECH_00000197
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Signatory's Position: Owner
Signatory's Phone Number: 6783584965


Response Signature
Signature: /Samuel E. Bonet/ Date: 10/08/2017
Signatory's Name: Samuel E. Bonet
Signatory's Position: Owner

Signatory's Phone Number: 6783584965

The signatory has confirmed that he/she is not represented by either an authorized attorney or Canadian attorney/agent, and that he/she is either
(1) the owner/holder or (2) a person(s) with legal authority to bind the owner/holder; and if an authorized U.S. attorney or Canadian
attorney/agent previously represented him/her in this matter, either he/she has filed a signed revocation of power of attorney with the USPTO or
the USPTO has granted the request of his/her prior representative to withdraw.


RAM Sale Number: 86961925
RAM Accounting Date: 10/10/2017

Serial Number: 86961925
Internet Transmission Date: Sun Oct 08 11:04:12 EDT 2017
TEAS Stamp: USPTO/POA-XX.XX.XX.XX-201710081104121599
02-86961925-5109069ca61aee94e2990ab5e536
428280bc73ddf85f4e48555ebf60b8a83d9614-C
C-6913-20171008105116247855




                                                                                                                            APL-STECH_00000198
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                                                               APL-STECH_00000199
Case 3:18-cv-05945-VC Document 125-3 Filed 10/30/19 Page 37 of 123




                                                               APL-STECH_00000200
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From:                      TMOfficialNotices@USPTO.GOV
Sent:                      Monday, October 9, 2017 11:01 PM
To:                        sambonet34@gmail.com
Subject:                   Official USPTO Notice of Revival: U.S. Trademark SN 86961925: MEMOJI (Stylized/Design)


                                                                                    Oct 9, 2017

                                                                           NOTICE OF REVIVAL
U.S. Serial Number: 86961925
Mark: MEMOJI (Stylized/Design)
Owner: SOCIAL TECHNOLOGIES LLC
Docket/Reference Number:

Revival Date: Oct 9, 2017

The above-referenced application has been REVIVED and will be forwarded to the appropriate section of the Office for further action.

 *   If the application was abandoned for failure to file a timely response to an Office action, the application will be forwarded to the examining attorney; or

 *   If a notice of appeal was submitted with the petition, the application will be forwarded to the Trademark Trial and Appeal Board to institute the appeal; or

 *   If the application was abandoned for failure to file a timely statement of use or a request for extension of time to file a statement of use, the application will be forwarded to
     the intent to use unit.

To check the current status of your application, please wait approximately three (3) weeks and then either go to
http://tsdr.uspto.gov/#caseNumber=86961925&caseType=SERIAL_NO&searchType=statusSearch or contact the Trademark Assistance Center at 1-800-786-9199. Please
check the status of the application at least every three (3) months after the application filing date.

To view this notice and other documents for this application on-line, go to
http://tsdr.uspto.gov/#caseNumber=86961925&caseType=SERIAL_NO&searchType=documentSearch. NOTE: This notice will only become available on-line the next business
day after receipt of this e-mail.

For further information, including information on filing and maintenance requirements for U.S. trademark applications and registrations and required fees, please consult the
USPTO website at http://www.uspto.gov/trademarks/ or contact the Trademark Assistance Center at 1-800-786-9199.




                                                                                                                                                            APL-STECH_00000201
                Case 3:18-cv-05945-VC Document 125-3 Filed 10/30/19 Page 39 of 123


                                    Trademark Snap Shot Amendment & Mail Processing Stylesheet
                                        (Table presents the data on Amendment & Mail Processing Complete)



                                                                OVERVIEW
SERIAL NUMBER                                  86961925                  FILING DATE                                04/01/2016

REG NUMBER                                      0000000                  REG DATE                                      N/A

REGISTER                                      PRINCIPAL                  MARK TYPE                                  TRADEMARK

INTL REG #                                            N/A                INTL REG DATE                                 N/A

TM ATTORNEY                               KERTGATE, AMY L                L.O. ASSIGNED                                 113



                                                            PUB INFORMATION
RUN DATE                         10/13/2017

PUB DATE                         N/A

STATUS                           616-REVIVE-AWAITING FURTHER ACTION

STATUS DATE                      10/09/2017

LITERAL MARK ELEMENT             MEMOJI


DATE ABANDONED                                        N/A                DATE CANCELLED                                N/A

SECTION 2F                                            NO                 SECTION 2F IN PART                            NO

SECTION 8                                             NO                 SECTION 8 IN PART                             NO

SECTION 15                                            NO                 REPUB 12C                                     N/A

RENEWAL FILED                                         NO                 RENEWAL DATE                                  N/A

DATE AMEND REG                                        N/A



                                                               FILING BASIS
                 FILED BASIS                                    CURRENT BASIS                                AMENDED BASIS

1 (a)                          NO             1 (a)                                 NO               1 (a)                   NO

1 (b)                          YES            1 (b)                                 YES              1 (b)                   NO

44D                            NO             44D                                   NO               44D                     NO

44E                            NO             44E                                   NO               44E                     NO

66A                            NO             66A                                   NO

NO BASIS                       NO             NO BASIS                              NO



                                                               MARK DATA
STANDARD CHARACTER MARK                                                  NO

LITERAL MARK ELEMENT                                                     MEMOJI

MARK DRAWING CODE                                                        3-AN ILLUSTRATION DRAWING WHICH INCLUDES
                                                                         WORD(S)/LETTER(S)/NUMBER(S)

COLOR DRAWING FLAG                                                       YES



                                                 CURRENT OWNER INFORMATION
PARTY TYPE                                                               11-SUBSEQUENT OWNER BEFORE PUBLICATION

NAME                                                                     SOCIAL TECHNOLOGIES LLC

ADDRESS                                                                  881 N. HIGHLAND AVENUE NE
                                                                         APT. 19
                                                                         ATLANTA, GA 30306




                                                                                                                      APL-STECH_00000202
                 Case 3:18-cv-05945-VC Document 125-3 Filed 10/30/19 Page 40 of 123

ENTITY                                                            16-LTD LIAB CO

CITIZENSHIP                                                       Georgia



                                                   GOODS AND SERVICES
INTERNATIONAL CLASS                                               009

       DESCRIPTION TEXT                                           Computer application software for mobile phones, namely, software for recording,
                                                                  editing, and distributing images, videos, and audio.; Computer application software
                                                                  for mobile phones, computers, and tablets, namely, software for recording, editing,
                                                                  and distributing images, videos, and audio.; Downloadable mobile applications for
                                                                  recording, editing, and distributing images, videos, and audio.; Downloadable
                                                                  software in the nature of a mobile application for recording, editing, and distributing
                                                                  images, videos, and audio




                                         GOODS AND SERVICES CLASSIFICATION
INTERNATIONAL     009           FIRST USE DATE   NONE             FIRST USE IN          NONE                   CLASS STATUS           6-ACTIVE
CLASS                                                             COMMERCE
                                                                  DATE



                                      MISCELLANEOUS INFORMATION/STATEMENTS
CHANGE IN REGISTRATION                                            NO

COLORS CLAIMED STATEMENT                                          The color(s) black, white, gray, brown, tan, red and pink is/are claimed as a feature
                                                                  of the mark.

DESCRIPTION OF MARK                                               The mark consists of the stylized wording "MEMOJI" appearing in white on a black
                                                                  background with a white oval with gray highlighting replacing the letter "O", a
                                                                  woman's cross-eyed face appearing within the oval with brown hair, tan skin, brown
                                                                  eyebrows, black and white eyes, pink cheeks and red lips. A partial reflection of the
                                                                  wording and design appears inverted directly below "MEMOJI" in gray, tan, brown,
                                                                  black red and pink.

NAME/PORTRAIT DESC/CONSENT                                        The name(s), portrait(s), and/or signature(s) shown in the mark identifies Nicole
                                                                  Martin, whose consent(s) to register is made of record.

PSEUDO MARK                                                       ME MOJI



                                                   PROSECUTION HISTORY
DATE                         ENT CD     ENT TYPE    DESCRIPTION                                                                              ENT NUM

10/12/2017                   TEME           I       TEAS/EMAIL CORRESPONDENCE ENTERED                                                            023

10/12/2017                   CRFA           I       CORRESPONDENCE RECEIVED IN LAW OFFICE                                                        022

10/09/2017                   NREV          E        NOTICE OF REVIVAL - E-MAILED                                                                 021

10/08/2017                   TROA           I       TEAS RESPONSE TO OFFICE ACTION RECEIVED                                                      020

10/08/2017                   PETG          O        PETITION TO REVIVE-GRANTED                                                                   019

10/08/2017                   PROA           I       TEAS PETITION TO REVIVE RECEIVED                                                             018

10/03/2017                   MAB2          O        ABANDONMENT NOTICE MAILED - FAILURE TO RESPOND                                               017

10/03/2017                   ABN2          O        ABANDONMENT - FAILURE TO RESPOND OR LATE RESPONSE                                            016

03/03/2017                   GPRN          O        NOTIFICATION OF PRIORITY ACTION E-MAILED                                                     015

03/03/2017                   GPRA          O        PRIORITY ACTION E-MAILED                                                                     014

03/03/2017                   CPRA          R        PRIORITY ACTION WRITTEN                                                                      013

02/10/2017                   TEME           I       TEAS/EMAIL CORRESPONDENCE ENTERED                                                            012

02/10/2017                   CRFA           I       CORRESPONDENCE RECEIVED IN LAW OFFICE                                                        011

02/02/2017                    ALIE         A        ASSIGNED TO LIE                                                                              010

01/18/2017                   ASGN           I       AUTOMATIC UPDATE OF ASSIGNMENT OF OWNERSHIP                                                  009

01/16/2017                   TROA           I       TEAS RESPONSE TO OFFICE ACTION RECEIVED                                                      008

07/25/2016                   GNRN          O        NOTIFICATION OF NON-FINAL ACTION E-MAILED                                                    007




                                                                                                                                  APL-STECH_00000203
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07/25/2016                GNRT      F      NON-FINAL ACTION E-MAILED                                      006

07/25/2016                CNRT      R      NON-FINAL ACTION WRITTEN                                       005

07/15/2016                DOCK      D      ASSIGNED TO EXAMINER                                           004

04/07/2016                MDSM      E      NOTICE OF DESIGN SEARCH CODE AND PSEUDO MARK E-MAILED          003

04/06/2016                NWOS      I      NEW APPLICATION OFFICE SUPPLIED DATA ENTERED IN TRAM           002

04/05/2016                NWAP      I      NEW APPLICATION ENTERED IN TRAM                                001



                                 CURRENT CORRESPONDENCE INFORMATION
ATTORNEY                                                NONE

CORRESPONDENCE ADDRESS                                  ONE MONKEY LLC
                                                        APT. 19
                                                        881 NORTH HIGHLAND AVENUE NE
                                                        ATLANTA, GA 30306

DOMESTIC REPRESENTATIVE                                 NONE



                                        PRIOR OWNER INFORMATION
PARTY TYPE                                              10-ORIGINAL APPLICANT

NAME                                                    One Monkey LLC

ADDRESS                                                 881 North Highland Avenue NE
                                                        Apt. 19
                                                        Atlanta, GA 30306

ENTITY                                                  03-CORPORATION

CITIZENSHIP                                             Georgia




                                                                                                   APL-STECH_00000204
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                                                               APL-STECH_00000205
                     Case 3:18-cv-05945-VC Document 125-3 Filed 10/30/19 Page 43 of 123

*** User:akertgate ***
#     Total            Dead              Live     Live     Status/    Search
       Marks            Marks            Viewed   Viewed   Search
                                         Docs     Images   Duration
01     18               10               8        8        0:01       *m{"ie"}$mo{"gj"}{"iey"}*[bi,ti]
02     410254           N/A              0        0        0:03       *m{"ie"}*[bi,ti] not dead[ld]
03     700              N/A              0        0        0:02       *mo{"jg"}{"iey"}*[bi,ti] not dead[ld]
04     76               0                76       76       0:01       2 and 3
05     18054            N/A              0        0        0:05       *m{v}{"gj"}{v}*[bi,ti] not dead[ld]
06     6162             N/A              0        0        0:01       2 and 5
07     3016             N/A              0        0        0:03       6 and "009"[cc]
08     928              N/A              0        0        0:01       6 and ("a b 200" "009")[ic]
09     31               18               13       12       0:01       *memo$1{"gj"}*[bi,ti]
10     4                2                2        2        0:01       *mimo$1{"gj"}*[bi,ti]
11     1                1                0        0        0:02       "One Monkey"[on]
12     8                3                5        5        0:02       "Social Technologies"[on]
13     1921             N/A              0        0        0:02       020301[dc] not dead[ld]
14     3941             N/A              0        0        0:01       270302[dc] not dead[ld]
15     35               0                3        35       0:01       13 and 14
16     747              N/A              0        0        0:03       13 and "009"[cc]
17     113              0                4        113      0:02       13 and ("a b 200" "009")[ic]
18     9067             N/A              0        0        0:03       260317[dc] not dead[ld]
19     113              0                4        113      0:01       13 and 17
20     113              0                4        113      0:01       13 and 19
21     42               0                2        42       0:01       13 and 18

Session started 11/2/2017 10:47:20 AM
Session finished 11/2/2017 10:53:59 AM
Total search duration 0 minutes 38 seconds
Session duration 6 minutes 39 seconds
Defaut NEAR limit=1ADJ limit=1



Sent to TICRS as Serial Number: 86961925




                                                                                                              APL-STECH_00000206
             Case 3:18-cv-05945-VC Document 125-3 Filed 10/30/19 Page 44 of 123


                                            NOTE TO THE FILE

SERIAL NUMBER:                  86961925

DATE:                          11/02/2017

NAME:                          akertgate

NOTE:

Searched:
       Google
       Lexis/Nexis
       OneLook
       Wikipedia
       Acronym Finder                                Protest evidence reviewed
       Other:

Checked:
       Geographic significance
       Surname
       Translation
       ID with ID/CLASS mailbox

     Checked list of approved Canadian attorneys and agents

Discussed file with
Attorney/Applicant via:
        phone                                        Left message with
        email                                        Attorney/Applicant

       Requested Law Library search                  Issued Examiner’s Amendment
       for:                                          and entered changes in TRADEUPS

          PRINT        DO NOT PRINT                  Added design code in TRADEUPS
       Description of the mark
       Translation statement                         Re-imaged standard character
                                                     drawing
       Negative translation statement
       Consent of living individual           Contacted TM MADRID ID/CLASS
                                              about misclassified definite ID
 X     Changed TRADEUPS to: delete extraneous periods (".") preceding each semicolon in the identification of goods.

       OTHER:




                                                                                                  APL-STECH_00000207
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                                              Trademark Snap Shot Publication Stylesheet
                                                 (Table presents the data on Publication Approval)



                                                                OVERVIEW
SERIAL NUMBER                                  86961925                   FILING DATE                                04/01/2016

REG NUMBER                                      0000000                   REG DATE                                      N/A

REGISTER                                      PRINCIPAL                   MARK TYPE                                  TRADEMARK

INTL REG #                                            N/A                 INTL REG DATE                                 N/A

TM ATTORNEY                               KERTGATE, AMY L                 L.O. ASSIGNED                                 113



                                                            PUB INFORMATION
RUN DATE                         11/03/2017

PUB DATE                         12/05/2017

STATUS                           681-PUBLICATION/ISSUE REVIEW COMPLETE

STATUS DATE                      11/02/2017

LITERAL MARK ELEMENT             MEMOJI


DATE ABANDONED                                        N/A                 DATE CANCELLED                                N/A

SECTION 2F                                            NO                  SECTION 2F IN PART                            NO

SECTION 8                                             NO                  SECTION 8 IN PART                             NO

SECTION 15                                            NO                  REPUB 12C                                     N/A

RENEWAL FILED                                         NO                  RENEWAL DATE                                  N/A

DATE AMEND REG                                        N/A



                                                               FILING BASIS
                 FILED BASIS                                    CURRENT BASIS                                AMENDED BASIS

1 (a)                          NO             1 (a)                                   NO             1 (a)                    NO

1 (b)                          YES            1 (b)                                  YES             1 (b)                    NO

44D                            NO             44D                                     NO             44D                      NO

44E                            NO             44E                                     NO             44E                      NO

66A                            NO             66A                                     NO

NO BASIS                       NO             NO BASIS                                NO



                                                                MARK DATA
STANDARD CHARACTER MARK                                                   NO

LITERAL MARK ELEMENT                                                      MEMOJI

MARK DRAWING CODE                                                         3-AN ILLUSTRATION DRAWING WHICH INCLUDES
                                                                          WORD(S)/LETTER(S)/NUMBER(S)

COLOR DRAWING FLAG                                                        YES



                                                 CURRENT OWNER INFORMATION
PARTY TYPE                                                                11-SUBSEQUENT OWNER BEFORE PUBLICATION

NAME                                                                      SOCIAL TECHNOLOGIES LLC

ADDRESS                                                                   881 N. HIGHLAND AVENUE NE
                                                                          APT. 19
                                                                          ATLANTA, GA 30306




                                                                                                                       APL-STECH_00000208
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ENTITY                                                            16-LTD LIAB CO

CITIZENSHIP                                                       Georgia



                                                   GOODS AND SERVICES
INTERNATIONAL CLASS                                               009

       DESCRIPTION TEXT                                           Computer application software for mobile phones, namely, software for recording,
                                                                  editing, and distributing images, videos, and audio; Computer application software
                                                                  for mobile phones, computers, and tablets, namely, software for recording, editing,
                                                                  and distributing images, videos, and audio; Downloadable mobile applications for
                                                                  recording, editing, and distributing images, videos, and audio; Downloadable
                                                                  software in the nature of a mobile application for recording, editing, and distributing
                                                                  images, videos, and audio




                                         GOODS AND SERVICES CLASSIFICATION
INTERNATIONAL     009           FIRST USE DATE   NONE             FIRST USE IN          NONE                   CLASS STATUS           6-ACTIVE
CLASS                                                             COMMERCE
                                                                  DATE



                                      MISCELLANEOUS INFORMATION/STATEMENTS
CHANGE IN REGISTRATION                                            NO

COLORS CLAIMED STATEMENT                                          The color(s) black, white, gray, brown, tan, red and pink is/are claimed as a feature
                                                                  of the mark.

DESCRIPTION OF MARK                                               The mark consists of the stylized wording "MEMOJI" appearing in white on a black
                                                                  background with a white oval with gray highlighting replacing the letter "O", a
                                                                  woman's cross-eyed face appearing within the oval with brown hair, tan skin, brown
                                                                  eyebrows, black and white eyes, pink cheeks and red lips. A partial reflection of the
                                                                  wording and design appears inverted directly below "MEMOJI" in gray, tan, brown,
                                                                  black red and pink.

NAME/PORTRAIT DESC/CONSENT                                        The name(s), portrait(s), and/or signature(s) shown in the mark identifies Nicole
                                                                  Martin, whose consent(s) to register is made of record.

PSEUDO MARK                                                       ME MOJI



                                                   PROSECUTION HISTORY
DATE                         ENT CD     ENT TYPE    DESCRIPTION                                                                              ENT NUM

11/02/2017                   CNSA          P        APPROVED FOR PUB - PRINCIPAL REGISTER                                                        024

10/12/2017                   TEME           I       TEAS/EMAIL CORRESPONDENCE ENTERED                                                            023

10/12/2017                   CRFA           I       CORRESPONDENCE RECEIVED IN LAW OFFICE                                                        022

10/09/2017                   NREV          E        NOTICE OF REVIVAL - E-MAILED                                                                 021

10/08/2017                   TROA           I       TEAS RESPONSE TO OFFICE ACTION RECEIVED                                                      020

10/08/2017                   PETG          O        PETITION TO REVIVE-GRANTED                                                                   019

10/08/2017                   PROA           I       TEAS PETITION TO REVIVE RECEIVED                                                             018

10/03/2017                   MAB2          O        ABANDONMENT NOTICE MAILED - FAILURE TO RESPOND                                               017

10/03/2017                   ABN2          O        ABANDONMENT - FAILURE TO RESPOND OR LATE RESPONSE                                            016

03/03/2017                   GPRN          O        NOTIFICATION OF PRIORITY ACTION E-MAILED                                                     015

03/03/2017                   GPRA          O        PRIORITY ACTION E-MAILED                                                                     014

03/03/2017                   CPRA          R        PRIORITY ACTION WRITTEN                                                                      013

02/10/2017                   TEME           I       TEAS/EMAIL CORRESPONDENCE ENTERED                                                            012

02/10/2017                   CRFA           I       CORRESPONDENCE RECEIVED IN LAW OFFICE                                                        011

02/02/2017                    ALIE         A        ASSIGNED TO LIE                                                                              010

01/18/2017                   ASGN           I       AUTOMATIC UPDATE OF ASSIGNMENT OF OWNERSHIP                                                  009

01/16/2017                   TROA           I       TEAS RESPONSE TO OFFICE ACTION RECEIVED                                                      008




                                                                                                                                  APL-STECH_00000209
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07/25/2016                GNRN      O      NOTIFICATION OF NON-FINAL ACTION E-MAILED                      007

07/25/2016                GNRT      F      NON-FINAL ACTION E-MAILED                                      006

07/25/2016                CNRT      R      NON-FINAL ACTION WRITTEN                                       005

07/15/2016                DOCK      D      ASSIGNED TO EXAMINER                                           004

04/07/2016                MDSM      E      NOTICE OF DESIGN SEARCH CODE AND PSEUDO MARK E-MAILED          003

04/06/2016                NWOS      I      NEW APPLICATION OFFICE SUPPLIED DATA ENTERED IN TRAM           002

04/05/2016                NWAP      I      NEW APPLICATION ENTERED IN TRAM                                001



                                 CURRENT CORRESPONDENCE INFORMATION
ATTORNEY                                                NONE

CORRESPONDENCE ADDRESS                                  ONE MONKEY LLC
                                                        APT. 19
                                                        881 NORTH HIGHLAND AVENUE NE
                                                        ATLANTA, GA 30306

DOMESTIC REPRESENTATIVE                                 NONE



                                        PRIOR OWNER INFORMATION
PARTY TYPE                                              10-ORIGINAL APPLICANT

NAME                                                    One Monkey LLC

ADDRESS                                                 881 North Highland Avenue NE
                                                        Apt. 19
                                                        Atlanta, GA 30306

ENTITY                                                  03-CORPORATION

CITIZENSHIP                                             Georgia




                                                                                                   APL-STECH_00000210
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                                                               APL-STECH_00000211
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From:                      TMOfficialNotices@USPTO.GOV
Sent:                      Wednesday, November 15, 2017 04:19 AM
To:                        sambonet34@gmail.com
Subject:                   Official USPTO Notification of Notice of Publication: U.S. Trademark SN 86961925: MEMOJI (Stylized/Design)

                                                               NOTIFICATION OF "NOTICE OF PUBLICATION"

Your trademark application (Serial No. 86961925) is scheduled to publish in the Official Gazette on Dec 5, 2017 . To preview the Notice of Publication, go to
http://tdr.uspto.gov/search.action?sn=86961925. If you have difficulty accessing the Notice of Publication, contact TDR@uspto.gov.

PLEASE NOTE:
 1.  The Notice of Publication may not be immediately available but will be viewable within 24 hours of this e-mail notification.
 2.  You will receive a second e-mail on the actual "Publication Date," which will include a link to the issue of the Official Gazette in which the mark has published.

Do NOT hit "Reply" to this e-mail notification. If you have any questions about the content of the Notice of Publication, contact TMPostPubQuery@uspto.gov.




                                                                                                                                                        APL-STECH_00000212
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                         UNITED STATES PATENT AND TRADEMARK OFFICE


                                                                                                                                                    Commissioner for Trademarks
                                                                                                                                                                  P.O. Box 1451
                                                                                                                                                     Alexandria, VA 22313-1451
                                                                                                                                                                  www.uspto.gov
                                                                               Nov 15, 2017

                                                                   NOTICE OF PUBLICATION
1.   Serial No.:                                                                        2.    Mark:
     86-961,925                                                                               MEMOJI
                                                                                              (STYLIZED/DESIGN)

3.   International Class(es):
     9

4.   Publication Date:                                                                  5.    Applicant:
     Dec 5, 2017                                                                              SOCIAL TECHNOLOGIES LLC



The mark of the application identified appears to be entitled to registration. The mark will, in accordance with Section 12(a) of the Trademark Act of 1946, as amended, be
published in the Official Gazette on the date indicated above for the purpose of opposition by any person who believes he will be damaged by the registration of the mark. If no
opposition is filed within the time specified by Section 13(a) of the Statute or by rules 2.101 or 2.102 of the Trademark Rules, the Commissioner of Patents and Trademarks may
issue a notice of allowance pursuant to section 13(b) of the Statute.

Copies of the trademark portion of the Official Gazette containing the publication of the mark may be obtained from:
                                                               The Superintendent of Documents
                                                               U.S. Government Printing Office
                                                               PO Box 371954
                                                               Pittsburgh, PA 15250-7954
                                                               Phone: 202-512-1800

By direction of the Commissioner.




              Email Address(es):

              sambonet34@gmail.com




                                                                                                                                                     APL-STECH_00000213
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From:                      TMOfficialNotices@USPTO.GOV
Sent:                      Tuesday, December 5, 2017 00:51 AM
To:                        sambonet34@gmail.com
Subject:                   Official USPTO Notice of Publication Confirmation: U.S. Trademark SN 86961925: MEMOJI (Stylized/Design)


                                         TRADEMARK OFFICIAL GAZETTE PUBLICATION CONFIRMATION

U.S. Serial Number: 86961925
Mark: MEMOJI (Stylized/Design)
International Class(es): 009
Owner: SOCIAL TECHNOLOGIES LLC
Docket/Reference Number:

The mark identified above has been published in the Trademark Official Gazette (TMOG) on Dec 05, 2017.

To Review the Mark in the TMOG:

     Click on the following link or paste the URL into an internet browser: https://tmog.uspto.gov/#issueDate=2017-12-05&serialNumber=86961925

On the publication date or shortly thereafter, the applicant should carefully review the information that appears in the TMOG for accuracy. If any information is incorrect due to
USPTO error, the applicant should immediately email the requested correction to TMPostPubQuery@uspto.gov. For applicant corrections or amendments after publication,
please file a post publication amendment using the form available at http://teasroa.uspto.gov/ppa/. For general information about this notice, please contact the Trademark
Assistance Center at 1-800-786-9199.

Significance of Publication for Opposition:

 *    Any party who believes it will be damaged by the registration of the mark may file a notice of opposition (or extension of time therefor) with the Trademark Trial and Appeal
      Board. If no party files an opposition or extension request within thirty (30) days after the publication date, then eleven (11) weeks after the publication date a notice of
      allowance (NOA) should issue. (Note: The applicant must file a complete Statement of Use or Extension Request with the required fees within six (6) months after the
      NOA issues to avoid abandonment of the application.)

To check the status of the application, go to http://tsdr.uspto.gov/#caseNumber=86961925&caseType=SERIAL_NO&searchType=statusSearch or contact the Trademark
Assistance Center at 1-800-786-9199. Please check the status of the application at least every three (3) months after the application filing date.

To view this notice and other documents for this application on-line, go to
http://tsdr.uspto.gov/#caseNumber=86961925&caseType=SERIAL_NO&searchType=documentSearch. NOTE: This notice will only become available on-line the next business
day after receipt of this e-mail.




                                                                                                                                                         APL-STECH_00000214
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From:                      TMOfficialNotices@USPTO.GOV
Sent:                      Tuesday, January 30, 2018 00:06 AM
To:                        sambonet34@gmail.com
Subject:                   Official USPTO Notice of Allowance: U.S. Trademark SN 86961925: MEMOJI (Stylized/Design)



                                                                         NOTICE OF ALLOWANCE (NOA)

                                                                             ISSUE DATE: Jan 30, 2018

U.S. Serial Number: 86961925
Mark: MEMOJI (Stylized/Design)
Docket/Reference Number:

No opposition was filed for this published application. The issue date of this NOA establishes the due date for the filing of a Statement of Use (SOU) or a Request
for Extension of Time to file a Statement of Use (Extension Request). WARNING: An SOU that meets all legal requirements must be filed before a registration
certificate can issue. Please read below for important information regarding the applicant's pending six (6) month deadline.

SIX (6)-MONTH DEADLINE: Applicant has six (6) MONTHS from the NOA issue date to file either:
  - An SOU, if the applicant is using the mark in commerce (required even if the applicant was using the mark at the time of filing the application, if use basis was not
     specified originally); OR
  - An Extension Request, if the applicant is not yet using the mark in commerce. If an Extension Request is filed, a new request must be filed every six (6)
     months until the SOU is filed. The applicant may file a total of five (5) extension requests. WARNING: An SOU may not be filed more than thirty-six (36) months from
     when the NOA issued. The deadline for filing is always calculated from the issue date of the NOA.

How to file SOU and/or Extension Request:
Use the Trademark Electronic Application System (TEAS). Do NOT reply to this e-mail, as e-mailed filings will NOT be processed. Both the SOU and Extension Request have
many legal requirements, including fees and verified statements; therefore, please use the USPTO forms available online at https://www.uspto.gov/trademarks-application-
process/filing-online (under the "INTENT-TO-USE (ITU) FORMS" category) to avoid the possible omission of required information. If you have questions about this notice,
please contact the Trademark Assistance Center at 1-800-786-9199.

For information on how to (1) divide an application; (2) delete goods/services (or entire class) with a Section 1(b) basis; or (3) change filing basis, see
https://www.uspto.gov/trademarks-getting-started/process-overview/additional-information-post-notice-allowance-process.

FAILURE TO FILE A REQUIRED DOCUMENT OUTLINED ABOVE DURING THE APPROPRIATE TIME PERIOD WILL RESULT IN THE ABANDONMENT OF THIS
APPLICATION.

                                                            REVIEW APPLICATION INFORMATION FOR ACCURACY

If you believe this NOA should not have issued or correction of the information shown below is needed, you must submit a request to the Intent-to-Use Unit. Please use the
"Post-Publication Amendment" form under the "POST-APPROVAL/PUBLICATION/POST NOTICE OF ALLOWANCE (NOA) AMENDMENT FORMS" category, available at
https://www.uspto.gov/trademarks-application-process/filing-online/post-approvalpublicationpost-notice-allowance-noa. Do NOT reply to this e-mail, as e-mailed filings will NOT
be processed.

Serial Number:                                                  86961925
Mark:                                                           MEMOJI (Stylized/Design)
Docket/Reference Number:
Owner:                                                          SOCIAL TECHNOLOGIES LLC
                                                                881 N. HIGHLAND AVENUE NE
                                                                APT. 19
                                                                ATLANTA , GEORGIA 30306
Correspondence Address:                                         ONE MONKEY LLC
                                                                APT. 19
                                                                881 NORTH HIGHLAND AVENUE NE
                                                                ATLANTA, GA 30306

This application has the following bases, but not necessarily for all listed goods/services:
        Section 1(a): NO                          Section 1(b): YES                          Section 44(e): NO

                                                                GOODS/SERVICES BY INTERNATIONAL CLASS

009 -          Computer application software for mobile phones, namely, software for recording, editing, and distributing images, videos, and audio; Computer application
               software for mobile phones, computers, and tablets, namely, software for recording, editing, and distributing images, videos, and audio; Downloadable mobile
               applications for recording, editing, and distributing images, videos, and audio; Downloadable software in the nature of a mobile application for recording, editing,
               and distributing images, videos, and audio -- FIRST USE DATE: NONE; -- USE IN COMMERCE DATE: NONE

                                                           ALL OF THE GOODS/SERVICES IN EACH CLASS ARE LISTED.



Appropriate Specimens for Goods and/or Services: A trademark specimen should be a label, tag, or container for the goods, or a display associated with the goods. See
TMEP §§904.03 et seq. A service mark specimen should be an advertisement, sign, brochure, website printout or other image that shows the mark used in the actual sale or
advertising of the services. See TMEP §§1301.04 et seq. For an instructional video on what is an appropriate trademark or service mark specimen for a good and/or service,
click here.

Fraudulent statements may result in registration being cancelled: Applicants must ensure that statements made in filings to the USPTO are accurate, as inaccuracies may
result in the cancellation of any issued trademark registration. The lack of a bona fide intention to use the mark with ALL goods and/or services listed in an application or the
lack of actual use on all goods and/or services for which use is claimed could jeopardize the validity of the registration, possibly resulting in its cancellation.




                                                                                                                                                              APL-STECH_00000215
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Additional information: For information on filing and maintenance requirements for U.S. trademark applications and registrations and required fees, please consult the USPTO
website at https://www.uspto.gov or call the Trademark Assistance Center at 1-800-786-9199.

Checking status: To check the status of this application, go to
https://tsdr.uspto.gov/#caseNumber=86961925&caseSearchType=US_APPLICATION&caseType=SERIAL_NO&searchType=statusSearch or contact the Trademark
Assistance Center at 1-800-786-9199. Please check the status of any application at least every three (3) months after the application filing date.

To view this notice and other documents for this application on-line, go to
https://tsdr.uspto.gov/#caseNumber=86961925&caseSearchType=US_APPLICATION&caseType=SERIAL_NO&searchType=documentSearch. NOTE: This notice will only be
available on-line the next business day after receipt of this e-mail.




                                                                                                                                                  APL-STECH_00000216
                              Case 3:18-cv-05945-VC Document 125-3 Filed 10/30/19 Page 54 of 123

Under the Paperwork Reduction Act of 1995 no persons are required to respond to a collection of information unless it displays a valid OMB control number.
PTO Form 1581 (Rev 09/2005)
OMB No. 0651-0054 (Exp 12/31/2020)


                                     Request for Extension of Time to File a Statement of Use
                                                   (15 U.S.C. Section 1051(d))


                                                     The table below presents the data as entered.

                                     Input Field                                                                  Entered
             SERIAL NUMBER                                              86961925
             LAW OFFICE ASSIGNED                                        LAW OFFICE 113
             MARK SECTION
             MARK                                                       MEMOJI (stylized and/or with design)
             STANDARD CHARACTERS                                        NO
             USPTO-GENERATED IMAGE                                      NO
             OWNER SECTION (current)
             NAME                                                       SOCIAL TECHNOLOGIES LLC
             INTERNAL ADDRESS                                           881 N. HIGHLAND AVENUE NE
             STREET                                                     APT. 19
             CITY                                                       ATLANTA
             STATE                                                      Georgia
             ZIP/POSTAL CODE                                            30306
             COUNTRY                                                    United States
             OWNER SECTION (proposed)
             NAME                                                       SOCIAL TECHNOLOGIES LLC
             INTERNAL ADDRESS                                           881 N. HIGHLAND AVENUE NE
             STREET                                                     APT. 19
             CITY                                                       ATLANTA
             STATE                                                      Georgia
             ZIP/POSTAL CODE                                            30306
             COUNTRY                                                    United States
             PHONE                                                      6783584965
             GOODS AND/OR SERVICES SECTION
             INTERNATIONAL CLASS                                        009
                                                                        Computer application software for mobile phones, namely, software for
                                                                        recording, editing, and distributing images, videos, and audio; Computer
                                                                        application software for mobile phones, computers, and tablets, namely,
             CURRENT IDENTIFICATION                                     software for recording, editing, and distributing images, videos, and audio;
                                                                        Downloadable mobile applications for recording, editing, and distributing
                                                                        images, videos, and audio; Downloadable software in the nature of a mobile
                                                                        application for recording, editing, and distributing images, videos, and audio




                                                                                                                                                    APL-STECH_00000217
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GOODS OR SERVICES                 KEEP ALL LISTED
EXTENSION SECTION
EXTENSION NUMBER                  1
ALLOWANCE MAIL DATE               01/30/2018
STATEMENT OF USE                  NO
PAYMENT SECTION
NUMBER OF CLASSES                 1
SUBTOTAL AMOUNT [EXTENSION FEE]   125
TOTAL AMOUNT                      125
SIGNATURE SECTION
SIGNATURE                         /Samuel E. Bonet/
SIGNATORY'S NAME                  Samuel E. Bonet
SIGNATORY'S POSITION              Principal
DATE SIGNED                       03/21/2018
SIGNATORY'S PHONE NUMBER          6783584965
FILING INFORMATION
SUBMIT DATE                       Wed Mar 21 15:00:44 EDT 2018
                                  USPTO/ESU-XX.XX.XX.XX-201
                                  80321150044372583-8696192
                                  5-5109b36e4eaa32c44df6f16
TEAS STAMP
                                  443a720838cc8d8b6e274554b
                                  e16ae2a248285f9d6b-CC-108
                                  6-20180321145303602701




                                                                      APL-STECH_00000218
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Under the Paperwork Reduction Act of 1995 no persons are required to respond to a collection of information unless it displays a valid OMB control number.
PTO Form 1581 (Rev 09/2005)
OMB No. 0651-0054 (Exp 12/31/2020)




                                                                    SOU Extension Request
                                                                  (15 U.S.C. Section 1051(d))
To the Commissioner for Trademarks:

MARK: MEMOJI (stylized and/or with design)
SERIAL NUMBER: 86961925

The applicant, SOCIAL TECHNOLOGIES LLC, having an address of
   881 N. HIGHLAND AVENUE NE
   APT. 19
   ATLANTA, Georgia 30306
   United States
   6783584965
   info@socialtechnologiesllc.com (authorized)
requests a six-month extension of time to file the Statement of Use under 37 C.F.R. Section 2.89 in this application.                        The Notice of Allowance
mailing date was 01/30/2018.

For International Class 009:
Current identification: Computer application software for mobile phones, namely, software for recording, editing, and distributing images,
videos, and audio; Computer application software for mobile phones, computers, and tablets, namely, software for recording, editing, and
distributing images, videos, and audio; Downloadable mobile applications for recording, editing, and distributing images, videos, and audio;
Downloadable software in the nature of a mobile application for recording, editing, and distributing images, videos, and audio

For a trademark/service mark: The applicant has a continued bona fide intention, and is entitled, to use the mark in commerce on or in connection
with all of the goods/services listed in the Notice of Allowance or as subsequently modified for this specific class; for a collective/certification
mark: the applicant has a continued bona fide intention, and is entitled, to exercise legitimate control over the use of the mark in commerce on or
in connection with the goods/services/collective membership organization listed in the Notice of Allowance, or as subsequently modified for this
specific class.



This is the first extension request.



A fee payment in the amount of $125 will be submitted with the form, representing payment for 1 class.


                                                                               Declaration

STATEMENTS: The signatory believes that: the applicant has a continued bona fide intention, and is entitled, to use the mark in commerce on or
in connection with all the goods/services under Section 1(b) in the notice of allowance or as subsequently modified, or, if applicable, the
applicant has a continued bona fide intention, and is entitled, to exercise legitimate control over the use of the mark in commerce on or in
connection with all the goods/services/collective membership organization under Section 1(b) in the notice of allowance or as subsequently
modified; and that to the best of the signatory's knowledge and belief, no other persons, except, if applicable, members and concurrent users,
have the right to use the mark in commerce, either in the identical form or in such near resemblance as to be likely, when used on or in
connection with the goods/services/collective membership organization of such other persons, to cause confusion or mistake, or to deceive.

DECLARATION: The signatory being warned that willful false statements and the like are punishable by fine or imprisonment, or both, under
18 U.S.C. §1001, and that such willful false statements and the like may jeopardize the validity of the application or submission or any resulting
registration, declares that all statements made of his/her own knowledge are true and that all statements made on information and belief are
believed to be true.


Signature: /Samuel E. Bonet/           Date Signed: 03/21/2018




                                                                                                                                                    APL-STECH_00000219
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Signatory's Name: Samuel E. Bonet
Signatory's Position: Principal
Signatory's Phone: 6783584965

RAM Sale Number: 86961925
RAM Accounting Date: 03/22/2018

Serial Number: 86961925
Internet Transmission Date: Wed Mar 21 15:00:44 EDT 2018
TEAS Stamp: USPTO/ESU-XX.XX.XX.XX-201803211500443725
83-86961925-5109b36e4eaa32c44df6f16443a7
20838cc8d8b6e274554be16ae2a248285f9d6b-C
C-1086-20180321145303602701




                                                                               APL-STECH_00000220
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                                                 Trademark Snap Shot ITU Unit Action
                                                       (Table presents the data on ITU Unit Action)



                                                                    OVERVIEW
SERIAL NUMBER                                  86961925                       FILING DATE                                04/01/2016

REG NUMBER                                      0000000                       REG DATE                                      N/A

REGISTER                                      PRINCIPAL                       MARK TYPE                                  TRADEMARK

INTL REG #                                            N/A                     INTL REG DATE                                 N/A

TM ATTORNEY                               KERTGATE, AMY L                     L.O. ASSIGNED                                 113



                                                              PUB INFORMATION
RUN DATE                         03/23/2018

PUB DATE                         12/05/2017

STATUS                           730-FIRST EXTENSION - GRANTED

STATUS DATE                      03/21/2018

LITERAL MARK ELEMENT             MEMOJI


DATE ABANDONED                                        N/A                     DATE CANCELLED                                N/A

SECTION 2F                                            NO                      SECTION 2F IN PART                            NO

SECTION 8                                             NO                      SECTION 8 IN PART                             NO

SECTION 15                                            NO                      REPUB 12C                                     N/A

RENEWAL FILED                                         NO                      RENEWAL DATE                                  N/A

DATE AMEND REG                                        N/A



                                                                  FILING BASIS
                 FILED BASIS                                       CURRENT BASIS                                 AMENDED BASIS

1 (a)                          NO             1 (a)                                       NO          1 (a)                       NO

1 (b)                          YES            1 (b)                                      YES          1 (b)                       NO

44D                            NO             44D                                         NO          44D                         NO

44E                            NO             44E                                         NO          44E                         NO

66A                            NO             66A                                         NO

NO BASIS                       NO             NO BASIS                                    NO



                                                                   MARK DATA
STANDARD CHARACTER MARK                                                       NO

LITERAL MARK ELEMENT                                                          MEMOJI

MARK DRAWING CODE                                                             3-AN ILLUSTRATION DRAWING WHICH INCLUDES
                                                                              WORD(S)/LETTER(S)/NUMBER(S)

COLOR DRAWING FLAG                                                            YES



                                                 CURRENT OWNER INFORMATION
PARTY TYPE                                                                    20-OWNER AT PUBLICATION

NAME                                                                          SOCIAL TECHNOLOGIES LLC

ADDRESS                                                                       881 N. HIGHLAND AVENUE NE
                                                                              APT. 19
                                                                              ATLANTA, GA 30306




                                                                                                                           APL-STECH_00000221
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ENTITY                                                            16-LTD LIAB CO

CITIZENSHIP                                                       Georgia



                                                   GOODS AND SERVICES
INTERNATIONAL CLASS                                               009

       DESCRIPTION TEXT                                           Computer application software for mobile phones, namely, software for recording,
                                                                  editing, and distributing images, videos, and audio; Computer application software
                                                                  for mobile phones, computers, and tablets, namely, software for recording, editing,
                                                                  and distributing images, videos, and audio; Downloadable mobile applications for
                                                                  recording, editing, and distributing images, videos, and audio; Downloadable
                                                                  software in the nature of a mobile application for recording, editing, and distributing
                                                                  images, videos, and audio




                                         GOODS AND SERVICES CLASSIFICATION
INTERNATIONAL     009           FIRST USE DATE   NONE             FIRST USE IN          NONE                   CLASS STATUS           6-ACTIVE
CLASS                                                             COMMERCE
                                                                  DATE



                                      MISCELLANEOUS INFORMATION/STATEMENTS
CHANGE IN REGISTRATION                                            NO

COLORS CLAIMED STATEMENT                                          The color(s) black, white, gray, brown, tan, red and pink is/are claimed as a feature
                                                                  of the mark.

DESCRIPTION OF MARK                                               The mark consists of the stylized wording "MEMOJI" appearing in white on a black
                                                                  background with a white oval with gray highlighting replacing the letter "O", a
                                                                  woman's cross-eyed face appearing within the oval with brown hair, tan skin, brown
                                                                  eyebrows, black and white eyes, pink cheeks and red lips. A partial reflection of the
                                                                  wording and design appears inverted directly below "MEMOJI" in gray, tan, brown,
                                                                  black red and pink.

NAME/PORTRAIT DESC/CONSENT                                        The name(s), portrait(s), and/or signature(s) shown in the mark identifies Nicole
                                                                  Martin, whose consent(s) to register is made of record.

PSEUDO MARK                                                       ME MOJI



                                                   PROSECUTION HISTORY
DATE                         ENT CD     ENT TYPE    DESCRIPTION                                                                              ENT NUM

03/23/2018                   EXRA          E        NOTICE OF APPROVAL OF EXTENSION REQUEST E-MAILED                                             032

03/21/2018                   EX1G          S        EXTENSION 1 GRANTED                                                                          031

03/21/2018                   EXT1          S        EXTENSION 1 FILED                                                                            030

03/21/2018                   EEXT           I       TEAS EXTENSION RECEIVED                                                                      029

01/30/2018                   NOAM          E        NOA E-MAILED - SOU REQUIRED FROM APPLICANT                                                   028

12/05/2017                   NPUB          E        OFFICIAL GAZETTE PUBLICATION CONFIRMATION E-MAILED                                           027

12/05/2017                   PUBO          A        PUBLISHED FOR OPPOSITION                                                                     026

11/15/2017                   NONP          E        NOTIFICATION OF NOTICE OF PUBLICATION E-MAILED                                               025

11/02/2017                   CNSA          P        APPROVED FOR PUB - PRINCIPAL REGISTER                                                        024

10/12/2017                   TEME           I       TEAS/EMAIL CORRESPONDENCE ENTERED                                                            023

10/12/2017                   CRFA           I       CORRESPONDENCE RECEIVED IN LAW OFFICE                                                        022

10/09/2017                   NREV          E        NOTICE OF REVIVAL - E-MAILED                                                                 021

10/08/2017                   TROA           I       TEAS RESPONSE TO OFFICE ACTION RECEIVED                                                      020

10/08/2017                   PETG          O        PETITION TO REVIVE-GRANTED                                                                   019

10/08/2017                   PROA           I       TEAS PETITION TO REVIVE RECEIVED                                                             018

10/03/2017                   MAB2          O        ABANDONMENT NOTICE MAILED - FAILURE TO RESPOND                                               017

10/03/2017                   ABN2          O        ABANDONMENT - FAILURE TO RESPOND OR LATE RESPONSE                                            016




                                                                                                                                  APL-STECH_00000222
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03/03/2017                GPRN      O      NOTIFICATION OF PRIORITY ACTION E-MAILED                      015

03/03/2017                GPRA      O      PRIORITY ACTION E-MAILED                                      014

03/03/2017                CPRA      R      PRIORITY ACTION WRITTEN                                       013

02/10/2017                TEME      I      TEAS/EMAIL CORRESPONDENCE ENTERED                             012

02/10/2017                CRFA      I      CORRESPONDENCE RECEIVED IN LAW OFFICE                         011

02/02/2017                ALIE      A      ASSIGNED TO LIE                                               010

01/18/2017                ASGN      I      AUTOMATIC UPDATE OF ASSIGNMENT OF OWNERSHIP                   009

01/16/2017                TROA      I      TEAS RESPONSE TO OFFICE ACTION RECEIVED                       008

07/25/2016                GNRN      O      NOTIFICATION OF NON-FINAL ACTION E-MAILED                     007

07/25/2016                GNRT      F      NON-FINAL ACTION E-MAILED                                     006

07/25/2016                CNRT      R      NON-FINAL ACTION WRITTEN                                      005

07/15/2016                DOCK      D      ASSIGNED TO EXAMINER                                          004

04/07/2016                MDSM      E      NOTICE OF DESIGN SEARCH CODE E-MAILED                         003

04/06/2016                NWOS      I      NEW APPLICATION OFFICE SUPPLIED DATA ENTERED IN TRAM          002

04/05/2016                NWAP      I      NEW APPLICATION ENTERED IN TRAM                               001



                                 CURRENT CORRESPONDENCE INFORMATION
ATTORNEY                                                NONE

CORRESPONDENCE ADDRESS                                  ONE MONKEY LLC
                                                        APT. 19
                                                        881 NORTH HIGHLAND AVENUE NE
                                                        ATLANTA, GA 30306

DOMESTIC REPRESENTATIVE                                 NONE



                                        PRIOR OWNER INFORMATION
PARTY TYPE                                              11-SUBSEQUENT OWNER BEFORE PUBLICATION

NAME                                                    SOCIAL TECHNOLOGIES LLC

ADDRESS                                                 881 N. HIGHLAND AVENUE NE
                                                        APT. 19
                                                        ATLANTA, GA 30306

ENTITY                                                  16-LTD LIAB CO

CITIZENSHIP                                             Georgia

PARTY TYPE                                              10-ORIGINAL APPLICANT

NAME                                                    One Monkey LLC

ADDRESS                                                 881 North Highland Avenue NE
                                                        Apt. 19
                                                        Atlanta, GA 30306

ENTITY                                                  03-CORPORATION

CITIZENSHIP                                             Georgia




                                                                                                  APL-STECH_00000223
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                                                               APL-STECH_00000224
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From:                     TMOfficialNotices@USPTO.GOV
Sent:                     Friday, March 23, 2018 00:15 AM
To:                       sambonet34@gmail.com
Subject:                  Official USPTO Notice of Approval of Extension Request: U.S. Trademark SN 86961925: MEMOJI (Stylized/Design)

                                                             NOTICE OF APPROVAL OF EXTENSION REQUEST

U.S. Serial Number: 86961925
Mark: MEMOJI (Stylized/Design)
Owner: SOCIAL TECHNOLOGIES LLC
Extension Request Number: 1
Docket/Reference Number:
Notice of Allowance Date: Jan 30, 2018

The USPTO issued a Notice of Allowance on Jan 30, 2018 for the trademark application identified above. Applicant's FIRST request for Extension of Time to File a Statement
of Use has been GRANTED. If you are currently using the mark in commerce, please visit http://www.uspto.gov/trademarks/teas/intent_to_use.jsp and select form number 1
("Statement of Use/Amendment to Allege Use for Intent-to-Use Application") to file your statement of use and complete the registration process.

PLEASE NOTE:

 1.    Applicant must continue to file extension requests every six (6) months calculated from the date the Notice of Allowance was issued until a Statement of Use is filed, or
       the USPTO will abandon the application.
 2.    Applicant may only request a total of five (5) extensions of time.
 3.    Applicant may NOT file a Statement of Use more than thirty-six (36) months from the date the Notice of Allowance was issued.

To check the status of the application, go to http://tsdr.uspto.gov/#caseNumber=86961925&caseType=SERIAL_NO&searchType=statusSearch or contact the Trademark
Assistance Center at 1-800-786-9199. Please check the status of the application at least every three (3) months after the application filing date.

To view this notice and other documents for this application on-line, go to
http://tsdr.uspto.gov/#caseNumber=86961925&caseType=SERIAL_NO&searchType=documentSearch. NOTE: This notice will only become available on-line the next business
day after receipt of this e-mail.

For further information on filing a Statement of Use or an additional extension request, if applicable, please consult the USPTO website at http://www.uspto.gov/trademarks/,
view the video on the USPTO website entitled "Statement of Use" (click on "TMIN Trademark Information Network" to view a list of available videos), or contact the Trademark
Assistance Center at 1-800-786-9199.




                                                                                                                                                       APL-STECH_00000225
       Case 3:18-cv-05945-VC Document 125-3 Filed 10/30/19 Page 63 of 123


                               Change Of Correspondence Address


                               The table below presents the data as entered.

                 Input Field                                               Entered
SERIAL NUMBER                              86961925
LAW OFFICE ASSIGNED                        LAW OFFICE 113
MARK SECTION
                                           MEMOJI (stylized and/or with design, see https://tmng-
MARK
                                           al.uspto.gov/resting2/api/img/86961925/large)
CORRESPONDENCE SECTION (current)
                                           ONE MONKEY LLC
                                           APT. 19
                                           881 NORTH HIGHLAND AVENUE NE
ORIGINAL ADDRESS                           ATLANTA Georgia 30306
                                           US
                                           6783584965
                                           sambonet34@gmail.com
NEW CORRESPONDENCE ADDRESS
                                           Gregori Mavronicolas

                                           Mavronicolas & Dee LLP
                                           3 Park Avenue, 15th Floor
                                           New York
NEW ADDRESS
                                           New York
                                           United States
                                           10016
                                           6464849569
                                           gmavronicolas@mavrolaw.com; gmavronicolas@mavrolaw.com
AUTHORIZED TO COMMUNICATE VIA E-MAIL       YES
INDIVIDUAL ATTORNEY
DOCKET/REFERENCE NUMBER

SIGNATURE SECTION
SIGNATURE                                  /Gregori Mavronicolas/
SIGNATORY NAME                             Gregori Mavronicolas
SIGNATORY DATE                             06/12/2018
SIGNATORY POSITION                         Attorney of record NY bar member
SIGNATORY PHONE NUMBER                     6464849569
AUTHORIZED SIGNATORY                       YES
FILING INFORMATION SECTION
SUBMIT DATE                                Tue Jun 12 12:18:46 EDT 2018
                                           USPTO/CCA-XX.XXX.XXX.XXX-
                                           20180612121846668983-8696
                                           1925-610d05e4b7fd4ad6a58e
TEAS STAMP                                 7a932a4dc55eafa4567c2e730




                                                                                                    APL-STECH_00000226
Case 3:18-cv-05945-VC Document 125-3 Filed 10/30/19 Page 64 of 123

                         82596187aa5bad1c718e83-N/
                         A-N/A-2018061210584908224
                         0




                                                               APL-STECH_00000227
                              Case 3:18-cv-05945-VC Document 125-3 Filed 10/30/19 Page 65 of 123

Under the Paperwork Reduction Act of 1995 no persons are required to respond to a collection of information unless it displays a valid OMB control number.
PTO Form 1553 (Rev 09/2005)
OMB No. 0651-0054 (Exp 12/31/2020)


                                               Trademark/Service Mark Statement of Use
                                                     (15 U.S.C. Section 1051(d))


                                                     The table below presents the data as entered.

                                     Input Field                                                                  Entered
             SERIAL NUMBER                                              86961925
             LAW OFFICE ASSIGNED                                        LAW OFFICE 113
             EXTENSION OF USE                                           NO
             MARK SECTION
             MARK FILE NAME                                             https://tmng-al.uspto.gov/resting2/api/img/86961925/large
             LITERAL ELEMENT                                            MEMOJI
             STANDARD CHARACTERS                                        NO
             USPTO-GENERATED IMAGE                                      NO
             OWNER SECTION (current)
             NAME                                                       SOCIAL TECHNOLOGIES LLC
             INTERNAL ADDRESS                                           881 N. HIGHLAND AVENUE NE
             STREET                                                     APT. 19
             CITY                                                       ATLANTA
             STATE                                                      Georgia
             ZIP/POSTAL CODE                                            30306
             COUNTRY                                                    United States
             OWNER SECTION (proposed)
             NAME                                                       SOCIAL TECHNOLOGIES LLC
             INTERNAL ADDRESS                                           881 N. HIGHLAND AVENUE NE
             STREET                                                     APT. 19
             CITY                                                       ATLANTA
             STATE                                                      Georgia
             ZIP/POSTAL CODE                                            30306
             COUNTRY                                                    United States
             PHONE                                                      6464849569
             EMAIL                                                      gmavronicolas@mavrolaw.com
             AUTHORIZED TO COMMUNICATE VIA E-MAIL                       Yes
             GOODS AND/OR SERVICES SECTION
             INTERNATIONAL CLASS                                        009
                                                                        Computer application software for mobile phones, namely, software for




                                                                                                                                                    APL-STECH_00000228
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                                          recording, editing, and distributing images, videos, and audio; Computer
                                          application software for mobile phones, computers, and tablets, namely,
CURRENT IDENTIFICATION                    software for recording, editing, and distributing images, videos, and audio;
                                          Downloadable mobile applications for recording, editing, and distributing
                                          images, videos, and audio; Downloadable software in the nature of a mobile
                                          application for recording, editing, and distributing images, videos, and audio
GOODS OR SERVICES                         KEEP ALL LISTED
FIRST USE ANYWHERE DATE                   06/28/2018
FIRST USE IN COMMERCE DATE                06/28/2018
                                          \\TICRS\EXPORT17\IMAGEOUT 17\869\619\86961925\xml19
SPECIMEN FILE NAME(S)
                                          \SOU0002.JPG

                                          \\TICRS\EXPORT17\IMAGEOUT 17\869\619\86961925\xml19
                                          \SOU0003.JPG

                                          \\TICRS\EXPORT17\IMAGEOUT 17\869\619\86961925\xml19
                                          \SOU0004.JPG
SPECIMEN DESCRIPTION                      screenshots showing the mark in use to provide the services
REQUEST TO DIVIDE                         NO
PAYMENT SECTION
NUMBER OF CLASSES IN USE                  1
SUBTOTAL AMOUNT [ALLEGATION OF USE FEE]   100
TOTAL AMOUNT                              100
SIGNATURE SECTION
DECLARATION SIGNATURE                     /Samuel E. Bonet/
SIGNATORY'S NAME                          Samuel E. Bonet
SIGNATORY'S POSITION                      Principal
DATE SIGNED                               06/30/2018
SIGNATORY'S PHONE NUMBER                  6783584965
DECLARATION SIGNATURE                     /Robert M. Long/
SIGNATORY'S NAME                          Robert M. Long/
SIGNATORY'S POSITION                      Principal
DATE SIGNED                               06/30/2018
SIGNATORY'S PHONE NUMBER                  6786377579
FILING INFORMATION
SUBMIT DATE                               Sat Jun 30 14:12:22 EDT 2018
                                          USPTO/SOU-XX.XX.XX.XX-201
                                          80630141222544995-8696192
                                          5-61035711d21d54a9ea33f44
TEAS STAMP
                                          b747e6ce56f4376ead9a2c081
                                          2ff27fc39968d2-CC-8310-20
                                          180630134608560853




                                                                                                          APL-STECH_00000229
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Under the Paperwork Reduction Act of 1995 no persons are required to respond to a collection of information unless it displays a valid OMB control number.
PTO Form 1553 (Rev 09/2005)
OMB No. 0651-0054 (Exp 12/31/2020)




                                                      Trademark/Service Mark Statement of Use
                                                            (15 U.S.C. Section 1051(d))
To the Commissioner for Trademarks:
MARK: MEMOJI (Stylized and/or with Design, see https://tmng-al.uspto.gov/resting2/api/img/86961925/large)
SERIAL NUMBER: 86961925



The applicant, SOCIAL TECHNOLOGIES LLC, having an address of
    881 N. HIGHLAND AVENUE NE
    APT. 19
    ATLANTA, Georgia 30306
    United States
    6464849569
    gmavronicolas@mavrolaw.com (authorized)
is submitting the following allegation of use information:

For International Class 009:
Current identification: Computer application software for mobile phones, namely, software for recording, editing, and distributing images,
videos, and audio; Computer application software for mobile phones, computers, and tablets, namely, software for recording, editing, and
distributing images, videos, and audio; Downloadable mobile applications for recording, editing, and distributing images, videos, and audio;
Downloadable software in the nature of a mobile application for recording, editing, and distributing images, videos, and audio

The mark is in use in commerce on or in connection with all of the goods/services, or to indicate membership in the collective organization listed
in the application or Notice of Allowance or as subsequently modified for this specific class.

The mark was first used by the applicant, or the applicant's related company, licensee, or predecessor in interest at least as early as 06/28/2018,
and first used in commerce at least as early as 06/28/2018, and is now in use in such commerce. The applicant is submitting one specimen for the
class showing the mark as used in commerce on or in connection with any item in the class, consisting of a(n) screenshots showing the mark in
use to provide the services.
Specimen File1
Specimen File2
Specimen File3


The applicant is not filing a Request to Divide with this Allegation of Use form.


A fee payment in the amount of $100 will be submitted with the form, representing payment for the allegation of use for 1 class.


                                                                               Declaration

             The signatory believes that the applicant is the owner of the mark sought to be registered.
             For a trademark or service mark application, the mark is in use in commerce on or in connection with all the goods/services in the
             application or notice of allowance, or as subsequently modified.
             For a collective trademark, collective service mark, collective membership mark application, the applicant is exercising legitimate
             control over the use of the mark in commerce by members on or in connection with all the goods/services/collective membership
             organization in the application or notice of allowance, or as subsequently modified.
             For a certification mark application, the applicant is exercising legitimate control over the use of the mark in commerce by authorized
             users on or in connection with the all goods/services in the application or notice of allowance, or as subsequently modified, and the
             applicant is not engaged in the production or marketing of the goods/services to which the mark is applied, except to advertise or
             promote recognition of the certification program or of the goods/services that meet the certification standards of the applicant.
             The specimen(s) shows the mark as used on or in connection with the goods/services/collective membership organization in commerce.




                                                                                                                                                    APL-STECH_00000230
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        To the best of the signatory's knowledge and belief, no other persons, except, if applicable, authorized users, members, and/or
        concurrent users, have the right to use the mark in commerce, either in the identical form or in such near resemblance as to be likely,
        when used on or in connection with the goods/services/collective membership organization of such other persons, to cause confusion or
        mistake, or to deceive.
        To the best of the signatory's knowledge, information, and belief, formed after an inquiry reasonable under the circumstances, the
        allegations and other factual contentions made above have evidentiary support.
        The signatory being warned that willful false statements and the like are punishable by fine or imprisonment, or both, under 18 U.S.C. §
        1001, and that such willful false statements and the like may jeopardize the validity of the application or submission or any registration
        resulting therefrom, declares that all statements made of his/her own knowledge are true and all statements made on information and
        belief are believed to be true.



Signature: /Samuel E. Bonet/    Date Signed: 06/30/2018
Signatory's Name: Samuel E. Bonet
Signatory's Position: Principal
Signatory's Phone: 6783584965

Signature: /Robert M. Long/     Date Signed: 06/30/2018
Signatory's Name: Robert M. Long/
Signatory's Position: Principal
Signatory's Phone: 6786377579

RAM Sale Number: 86961925
RAM Accounting Date: 07/02/2018

Serial Number: 86961925
Internet Transmission Date: Sat Jun 30 14:12:22 EDT 2018
TEAS Stamp: USPTO/SOU-XX.XX.XX.XX-201806301412225449
95-86961925-61035711d21d54a9ea33f44b747e
6ce56f4376ead9a2c0812ff27fc39968d2-CC-83
10-20180630134608560853




                                                                                                                             APL-STECH_00000231
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                                                               APL-STECH_00000232
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                                                               APL-STECH_00000233
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                                                               APL-STECH_00000234
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                                                               APL-STECH_00000235
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                                                               APL-STECH_00000236
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                                                               APL-STECH_00000237
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                                                               APL-STECH_00000238
                Case 3:18-cv-05945-VC Document 125-3 Filed 10/30/19 Page 76 of 123


                                                 Trademark Snap Shot ITU Unit Action
                                                       (Table presents the data on ITU Unit Action)



                                                                    OVERVIEW
SERIAL NUMBER                                  86961925                       FILING DATE                                04/01/2016

REG NUMBER                                      0000000                       REG DATE                                      N/A

REGISTER                                      PRINCIPAL                       MARK TYPE                                  TRADEMARK

INTL REG #                                            N/A                     INTL REG DATE                                 N/A

TM ATTORNEY                               KERTGATE, AMY L                     L.O. ASSIGNED                                 113



                                                              PUB INFORMATION
RUN DATE                         07/26/2018

PUB DATE                         12/05/2017

STATUS                           748-STATEMENT OF USE - TO EXAMINER

STATUS DATE                      07/25/2018

LITERAL MARK ELEMENT             MEMOJI


DATE ABANDONED                                        N/A                     DATE CANCELLED                                N/A

SECTION 2F                                            NO                      SECTION 2F IN PART                            NO

SECTION 8                                             NO                      SECTION 8 IN PART                             NO

SECTION 15                                            NO                      REPUB 12C                                     N/A

RENEWAL FILED                                         NO                      RENEWAL DATE                                  N/A

DATE AMEND REG                                        N/A



                                                                  FILING BASIS
                 FILED BASIS                                       CURRENT BASIS                                 AMENDED BASIS

1 (a)                          NO             1 (a)                                       NO          1 (a)                       NO

1 (b)                          YES            1 (b)                                      YES          1 (b)                       NO

44D                            NO             44D                                         NO          44D                         NO

44E                            NO             44E                                         NO          44E                         NO

66A                            NO             66A                                         NO

NO BASIS                       NO             NO BASIS                                    NO



                                                                   MARK DATA
STANDARD CHARACTER MARK                                                       NO

LITERAL MARK ELEMENT                                                          MEMOJI

MARK DRAWING CODE                                                             3-AN ILLUSTRATION DRAWING WHICH INCLUDES
                                                                              WORD(S)/LETTER(S)/NUMBER(S)

COLOR DRAWING FLAG                                                            YES



                                                 CURRENT OWNER INFORMATION
PARTY TYPE                                                                    20-OWNER AT PUBLICATION

NAME                                                                          SOCIAL TECHNOLOGIES LLC

ADDRESS                                                                       881 N. HIGHLAND AVENUE NE
                                                                              APT. 19
                                                                              ATLANTA, GA 30306




                                                                                                                           APL-STECH_00000239
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ENTITY                                                             16-LTD LIAB CO

CITIZENSHIP                                                        Georgia



                                                    GOODS AND SERVICES
INTERNATIONAL CLASS                                                009

       DESCRIPTION TEXT                                            Computer application software for mobile phones, namely, software for recording,
                                                                   editing, and distributing images, videos, and audio; computer application software for
                                                                   mobile phones, computers, and tablets, namely, software for recording, editing, and
                                                                   distributing images, videos, and audio; downloadable mobile applications for
                                                                   recording, editing, and distributing images, videos, and audio; downloadable
                                                                   software in the nature of a mobile application for recording, editing, and distributing
                                                                   images, videos, and audio




                                         GOODS AND SERVICES CLASSIFICATION
INTERNATIONAL     009           FIRST USE DATE   06/28/2018        FIRST USE IN          06/28/2018            CLASS STATUS           6-ACTIVE
CLASS                                                              COMMERCE
                                                                   DATE



                                      MISCELLANEOUS INFORMATION/STATEMENTS
CHANGE IN REGISTRATION                                             NO

COLORS CLAIMED STATEMENT                                           The color(s) black, white, gray, brown, tan, red and pink is/are claimed as a feature
                                                                   of the mark.

DESCRIPTION OF MARK                                                The mark consists of the stylized wording "MEMOJI" appearing in white on a black
                                                                   background with a white oval with gray highlighting replacing the letter "O", a
                                                                   woman's cross-eyed face appearing within the oval with brown hair, tan skin, brown
                                                                   eyebrows, black and white eyes, pink cheeks and red lips. A partial reflection of the
                                                                   wording and design appears inverted directly below "MEMOJI" in gray, tan, brown,
                                                                   black red and pink.

NAME/PORTRAIT DESC/CONSENT                                         The name(s), portrait(s), and/or signature(s) shown in the mark identifies Nicole
                                                                   Martin, whose consent(s) to register is made of record.

PSEUDO MARK                                                        ME MOJI



                                                   PROSECUTION HISTORY
DATE                         ENT CD     ENT TYPE     DESCRIPTION                                                                             ENT NUM

07/25/2018                   SUPC           I        STATEMENT OF USE PROCESSING COMPLETE                                                       037

06/30/2018                    IUAF         S         USE AMENDMENT FILED                                                                        036

07/24/2018                    AITU         A         CASE ASSIGNED TO INTENT TO USE PARALEGAL                                                   035

06/30/2018                    EISU          I        TEAS STATEMENT OF USE RECEIVED                                                             034

06/12/2018                   TCCA           I        TEAS CHANGE OF CORRESPONDENCE RECEIVED                                                     033

03/23/2018                   EXRA          E         NOTICE OF APPROVAL OF EXTENSION REQUEST E-MAILED                                           032

03/21/2018                   EX1G          S         EXTENSION 1 GRANTED                                                                        031

03/21/2018                   EXT1          S         EXTENSION 1 FILED                                                                          030

03/21/2018                   EEXT           I        TEAS EXTENSION RECEIVED                                                                    029

01/30/2018                   NOAM          E         NOA E-MAILED - SOU REQUIRED FROM APPLICANT                                                 028

12/05/2017                   NPUB          E         OFFICIAL GAZETTE PUBLICATION CONFIRMATION E-MAILED                                         027

12/05/2017                   PUBO          A         PUBLISHED FOR OPPOSITION                                                                   026

11/15/2017                   NONP          E         NOTIFICATION OF NOTICE OF PUBLICATION E-MAILED                                             025

11/02/2017                   CNSA          P         APPROVED FOR PUB - PRINCIPAL REGISTER                                                      024

10/12/2017                   TEME           I        TEAS/EMAIL CORRESPONDENCE ENTERED                                                          023

10/12/2017                   CRFA           I        CORRESPONDENCE RECEIVED IN LAW OFFICE                                                      022

10/09/2017                   NREV          E         NOTICE OF REVIVAL - E-MAILED                                                               021




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10/08/2017                TROA      I      TEAS RESPONSE TO OFFICE ACTION RECEIVED                       020

10/08/2017                PETG      O      PETITION TO REVIVE-GRANTED                                    019

10/08/2017                PROA      I      TEAS PETITION TO REVIVE RECEIVED                              018

10/03/2017                MAB2      O      ABANDONMENT NOTICE MAILED - FAILURE TO RESPOND                017

10/03/2017                ABN2      O      ABANDONMENT - FAILURE TO RESPOND OR LATE RESPONSE             016

03/03/2017                GPRN      O      NOTIFICATION OF PRIORITY ACTION E-MAILED                      015

03/03/2017                GPRA      O      PRIORITY ACTION E-MAILED                                      014

03/03/2017                CPRA      R      PRIORITY ACTION WRITTEN                                       013

02/10/2017                TEME      I      TEAS/EMAIL CORRESPONDENCE ENTERED                             012

02/10/2017                CRFA      I      CORRESPONDENCE RECEIVED IN LAW OFFICE                         011

02/02/2017                ALIE      A      ASSIGNED TO LIE                                               010

01/18/2017                ASGN      I      AUTOMATIC UPDATE OF ASSIGNMENT OF OWNERSHIP                   009

01/16/2017                TROA      I      TEAS RESPONSE TO OFFICE ACTION RECEIVED                       008

07/25/2016                GNRN      O      NOTIFICATION OF NON-FINAL ACTION E-MAILED                     007

07/25/2016                GNRT      F      NON-FINAL ACTION E-MAILED                                     006

07/25/2016                CNRT      R      NON-FINAL ACTION WRITTEN                                      005

07/15/2016                DOCK      D      ASSIGNED TO EXAMINER                                          004

04/07/2016                MDSM      E      NOTICE OF DESIGN SEARCH CODE E-MAILED                         003

04/06/2016                NWOS      I      NEW APPLICATION OFFICE SUPPLIED DATA ENTERED IN TRAM          002

04/05/2016                NWAP      I      NEW APPLICATION ENTERED IN TRAM                               001



                                 CURRENT CORRESPONDENCE INFORMATION
ATTORNEY                                                NONE

CORRESPONDENCE ADDRESS                                  Gregori Mavronicolas
                                                        Mavronicolas & Dee LLP
                                                        3 Park Avenue, 15th Floor
                                                        New York, NY 10016

DOMESTIC REPRESENTATIVE                                 NONE



                                        PRIOR OWNER INFORMATION
PARTY TYPE                                              11-SUBSEQUENT OWNER BEFORE PUBLICATION

NAME                                                    SOCIAL TECHNOLOGIES LLC

ADDRESS                                                 881 N. HIGHLAND AVENUE NE
                                                        APT. 19
                                                        ATLANTA, GA 30306

ENTITY                                                  16-LTD LIAB CO

CITIZENSHIP                                             Georgia

PARTY TYPE                                              10-ORIGINAL APPLICANT

NAME                                                    One Monkey LLC

ADDRESS                                                 881 North Highland Avenue NE
                                                        Apt. 19
                                                        Atlanta, GA 30306

ENTITY                                                  03-CORPORATION

CITIZENSHIP                                             Georgia




                                                                                                  APL-STECH_00000241
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                                                               APL-STECH_00000242
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                                              Trademark Snap Shot Publication Stylesheet
                                                 (Table presents the data on Publication Approval)



                                                                OVERVIEW
SERIAL NUMBER                                  86961925                   FILING DATE                                04/01/2016

REG NUMBER                                      0000000                   REG DATE                                      N/A

REGISTER                                      PRINCIPAL                   MARK TYPE                                  TRADEMARK

INTL REG #                                            N/A                 INTL REG DATE                                 N/A

TM ATTORNEY                               KERTGATE, AMY L                 L.O. ASSIGNED                                 113



                                                            PUB INFORMATION
RUN DATE                         08/16/2018

PUB DATE                         12/05/2017

STATUS                           819-SU - REGISTRATION REVIEW COMPLETE

STATUS DATE                      08/15/2018

LITERAL MARK ELEMENT             MEMOJI


DATE ABANDONED                                        N/A                 DATE CANCELLED                                N/A

SECTION 2F                                            NO                  SECTION 2F IN PART                            NO

SECTION 8                                             NO                  SECTION 8 IN PART                             NO

SECTION 15                                            NO                  REPUB 12C                                     N/A

RENEWAL FILED                                         NO                  RENEWAL DATE                                  N/A

DATE AMEND REG                                        N/A



                                                               FILING BASIS
                 FILED BASIS                                    CURRENT BASIS                                AMENDED BASIS

1 (a)                          NO             1 (a)                                  YES             1 (a)                    NO

1 (b)                          YES            1 (b)                                   NO             1 (b)                    NO

44D                            NO             44D                                     NO             44D                      NO

44E                            NO             44E                                     NO             44E                      NO

66A                            NO             66A                                     NO

NO BASIS                       NO             NO BASIS                                NO



                                                                MARK DATA
STANDARD CHARACTER MARK                                                   NO

LITERAL MARK ELEMENT                                                      MEMOJI

MARK DRAWING CODE                                                         3-AN ILLUSTRATION DRAWING WHICH INCLUDES
                                                                          WORD(S)/LETTER(S)/NUMBER(S)

COLOR DRAWING FLAG                                                        YES



                                                 CURRENT OWNER INFORMATION
PARTY TYPE                                                                20-OWNER AT PUBLICATION

NAME                                                                      SOCIAL TECHNOLOGIES LLC

ADDRESS                                                                   881 N. HIGHLAND AVENUE NE
                                                                          APT. 19
                                                                          ATLANTA, GA 30306




                                                                                                                       APL-STECH_00000243
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ENTITY                                                             16-LTD LIAB CO

CITIZENSHIP                                                        Georgia



                                                    GOODS AND SERVICES
INTERNATIONAL CLASS                                                009

       DESCRIPTION TEXT                                            Computer application software for mobile phones, namely, software for recording,
                                                                   editing, and distributing images, videos, and audio; computer application software for
                                                                   mobile phones, computers, and tablets, namely, software for recording, editing, and
                                                                   distributing images, videos, and audio; downloadable mobile applications for
                                                                   recording, editing, and distributing images, videos, and audio; downloadable
                                                                   software in the nature of a mobile application for recording, editing, and distributing
                                                                   images, videos, and audio




                                         GOODS AND SERVICES CLASSIFICATION
INTERNATIONAL     009           FIRST USE DATE   06/28/2018        FIRST USE IN          06/28/2018            CLASS STATUS           6-ACTIVE
CLASS                                                              COMMERCE
                                                                   DATE



                                      MISCELLANEOUS INFORMATION/STATEMENTS
CHANGE IN REGISTRATION                                             NO

COLORS CLAIMED STATEMENT                                           The color(s) black, white, gray, brown, tan, red and pink is/are claimed as a feature
                                                                   of the mark.

DESCRIPTION OF MARK                                                The mark consists of the stylized wording "MEMOJI" appearing in white on a black
                                                                   background with a white oval with gray highlighting replacing the letter "O", a
                                                                   woman's cross-eyed face appearing within the oval with brown hair, tan skin, brown
                                                                   eyebrows, black and white eyes, pink cheeks and red lips. A partial reflection of the
                                                                   wording and design appears inverted directly below "MEMOJI" in gray, tan, brown,
                                                                   black red and pink.

NAME/PORTRAIT DESC/CONSENT                                         The name(s), portrait(s), and/or signature(s) shown in the mark identifies Nicole
                                                                   Martin, whose consent(s) to register is made of record.

PSEUDO MARK                                                        ME MOJI



                                                   PROSECUTION HISTORY
DATE                         ENT CD     ENT TYPE     DESCRIPTION                                                                             ENT NUM

08/16/2018                   SUNA          E         NOTICE OF ACCEPTANCE OF STATEMENT OF USE E-MAILED                                          039

08/15/2018                   CNPR          P         ALLOWED PRINCIPAL REGISTER - SOU ACCEPTED                                                  038

07/25/2018                   SUPC           I        STATEMENT OF USE PROCESSING COMPLETE                                                       037

06/30/2018                    IUAF         S         USE AMENDMENT FILED                                                                        036

07/24/2018                    AITU         A         CASE ASSIGNED TO INTENT TO USE PARALEGAL                                                   035

06/30/2018                    EISU          I        TEAS STATEMENT OF USE RECEIVED                                                             034

06/12/2018                   TCCA           I        TEAS CHANGE OF CORRESPONDENCE RECEIVED                                                     033

03/23/2018                   EXRA          E         NOTICE OF APPROVAL OF EXTENSION REQUEST E-MAILED                                           032

03/21/2018                   EX1G          S         EXTENSION 1 GRANTED                                                                        031

03/21/2018                   EXT1          S         EXTENSION 1 FILED                                                                          030

03/21/2018                   EEXT           I        TEAS EXTENSION RECEIVED                                                                    029

01/30/2018                   NOAM          E         NOA E-MAILED - SOU REQUIRED FROM APPLICANT                                                 028

12/05/2017                   NPUB          E         OFFICIAL GAZETTE PUBLICATION CONFIRMATION E-MAILED                                         027

12/05/2017                   PUBO          A         PUBLISHED FOR OPPOSITION                                                                   026

11/15/2017                   NONP          E         NOTIFICATION OF NOTICE OF PUBLICATION E-MAILED                                             025

11/02/2017                   CNSA          P         APPROVED FOR PUB - PRINCIPAL REGISTER                                                      024

10/12/2017                   TEME           I        TEAS/EMAIL CORRESPONDENCE ENTERED                                                          023




                                                                                                                                 APL-STECH_00000244
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10/12/2017                CRFA      I      CORRESPONDENCE RECEIVED IN LAW OFFICE                         022

10/09/2017                NREV      E      NOTICE OF REVIVAL - E-MAILED                                  021

10/08/2017                TROA      I      TEAS RESPONSE TO OFFICE ACTION RECEIVED                       020

10/08/2017                PETG      O      PETITION TO REVIVE-GRANTED                                    019

10/08/2017                PROA      I      TEAS PETITION TO REVIVE RECEIVED                              018

10/03/2017                MAB2      O      ABANDONMENT NOTICE MAILED - FAILURE TO RESPOND                017

10/03/2017                ABN2      O      ABANDONMENT - FAILURE TO RESPOND OR LATE RESPONSE             016

03/03/2017                GPRN      O      NOTIFICATION OF PRIORITY ACTION E-MAILED                      015

03/03/2017                GPRA      O      PRIORITY ACTION E-MAILED                                      014

03/03/2017                CPRA      R      PRIORITY ACTION WRITTEN                                       013

02/10/2017                TEME      I      TEAS/EMAIL CORRESPONDENCE ENTERED                             012

02/10/2017                CRFA      I      CORRESPONDENCE RECEIVED IN LAW OFFICE                         011

02/02/2017                ALIE      A      ASSIGNED TO LIE                                               010

01/18/2017                ASGN      I      AUTOMATIC UPDATE OF ASSIGNMENT OF OWNERSHIP                   009

01/16/2017                TROA      I      TEAS RESPONSE TO OFFICE ACTION RECEIVED                       008

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07/25/2016                GNRT      F      NON-FINAL ACTION E-MAILED                                     006

07/25/2016                CNRT      R      NON-FINAL ACTION WRITTEN                                      005

07/15/2016                DOCK      D      ASSIGNED TO EXAMINER                                          004

04/07/2016                MDSM      E      NOTICE OF DESIGN SEARCH CODE E-MAILED                         003

04/06/2016                NWOS      I      NEW APPLICATION OFFICE SUPPLIED DATA ENTERED IN TRAM          002

04/05/2016                NWAP      I      NEW APPLICATION ENTERED IN TRAM                               001



                                 CURRENT CORRESPONDENCE INFORMATION
ATTORNEY                                                NONE

CORRESPONDENCE ADDRESS                                  Gregori Mavronicolas
                                                        Mavronicolas & Dee LLP
                                                        3 Park Avenue, 15th Floor
                                                        New York, NY 10016

DOMESTIC REPRESENTATIVE                                 NONE



                                        PRIOR OWNER INFORMATION
PARTY TYPE                                              11-SUBSEQUENT OWNER BEFORE PUBLICATION

NAME                                                    SOCIAL TECHNOLOGIES LLC

ADDRESS                                                 881 N. HIGHLAND AVENUE NE
                                                        APT. 19
                                                        ATLANTA, GA 30306

ENTITY                                                  16-LTD LIAB CO

CITIZENSHIP                                             Georgia

PARTY TYPE                                              10-ORIGINAL APPLICANT

NAME                                                    One Monkey LLC

ADDRESS                                                 881 North Highland Avenue NE
                                                        Apt. 19
                                                        Atlanta, GA 30306

ENTITY                                                  03-CORPORATION

CITIZENSHIP                                             Georgia




                                                                                                  APL-STECH_00000245
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                                                               APL-STECH_00000246
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From:                      TMOfficialNotices@USPTO.GOV
Sent:                      Thursday, August 16, 2018 00:14 AM
To:                        gmavronicolas@mavrolaw.com
Cc:                        gmavronicolas@mavrolaw.com
Subject:                   Official USPTO Notice of Acceptance of SOU: U.S. Trademark SN 86961925: MEMOJI (Stylized/Design)

                                                            NOTICE OF ACCEPTANCE OF STATEMENT OF USE

U.S. Serial Number: 86961925
Mark: MEMOJI (Stylized/Design)
Owner: SOCIAL TECHNOLOGIES LLC
Docket/Reference Number:

The USPTO has accepted the Statement of Use filed for the trademark application identified above. The mark will now register and the registration certificate will issue in due
course barring any extraordinary circumstances.

To check the status of the application, go to http://tsdr.uspto.gov/#caseNumber=86961925&caseType=SERIAL_NO&searchType=statusSearch or contact the Trademark
Assistance Center at 1-800-786-9199. Please check the status of the application at least every three (3) months after the application filing date.

To view this notice and other documents for this application on-line, go to
http://tsdr.uspto.gov/#caseNumber=86961925&caseType=SERIAL_NO&searchType=documentSearch. NOTE: This notice will only become available on-line the next business
day after receipt of this e-mail.

For further information, including information on filing and maintenance requirements for U.S. trademark applications and registrations and required fees, please consult the
USPTO website at http://www.uspto.gov/trademarks/ or contact the Trademark Assistance Center at 1-800-786-9199.




                                                                                                                                                       APL-STECH_00000247
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Reg. No. 5,566,242            SOCIAL TECHNOLOGIES LLC (GEORGIA LIMITED LIABILITY COMPANY)
                              881 N. Highland Avenue Ne
Registered Sep. 18, 2018      Apt. 19
                              Atlanta, GEORGIA 30306
Int. Cl.: 9                   CLASS 9: Computer application software for mobile phones, namely, software for recording,
                              editing, and distributing images, videos, and audio; computer application software for mobile
Trademark                     phones, computers, and tablets, namely, software for recording, editing, and distributing
                              images, videos, and audio; downloadable mobile applications for recording, editing, and
Principal Register            distributing images, videos, and audio; downloadable software in the nature of a mobile
                              application for recording, editing, and distributing images, videos, and audio

                              FIRST USE 6-28-2018; IN COMMERCE 6-28-2018

                              The color(s) black, white, gray, brown, tan, red and pink is/are claimed as a feature of the
                              mark.

                              The mark consists of the stylized wording "MEMOJI" appearing in white on a black
                              background with a white oval with gray highlighting replacing the letter "O", a woman's
                              cross-eyed face appearing within the oval with brown hair, tan skin, brown eyebrows, black
                              and white eyes, pink cheeks and red lips. A partial reflection of the wording and design
                              appears inverted directly below "MEMOJI" in gray, tan, brown, black red and pink.

                              The name(s), portrait(s), and/or signature(s) shown in the mark identifies Nicole Martin,
                              whose consent(s) to register is made of record.

                              SER. NO. 86-961,925, FILED 04-01-2016




                                                                                                           APL-STECH_00000248
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     REQUIREMENTS TO MAINTAIN YOUR FEDERAL TRADEMARK REGISTRATION

  WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
         DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.

Requirements in the First Ten Years*
What and When to File:

     First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the 5th and 6th
     years after the registration date. See 15 U.S.C. §§1058, 1141k. If the declaration is accepted, the
     registration will continue in force for the remainder of the ten-year period, calculated from the registration
     date, unless cancelled by an order of the Commissioner for Trademarks or a federal court.

     Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an Application
     for Renewal between the 9th and 10th years after the registration date.* See 15 U.S.C. §1059.


Requirements in Successive Ten-Year Periods*
What and When to File:

     You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal
     between every 9th and 10th-year period, calculated from the registration date.*


Grace Period Filings*

The above documents will be accepted as timely if filed within six months after the deadlines listed above with
the payment of an additional fee.

*ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with an
extension of protection to the United States under the Madrid Protocol must timely file the Declarations of Use
(or Excusable Nonuse) referenced above directly with the United States Patent and Trademark Office (USPTO).
The time periods for filing are based on the U.S. registration date (not the international registration date). The
deadlines and grace periods for the Declarations of Use (or Excusable Nonuse) are identical to those for
nationally issued registrations. See 15 U.S.C. §§1058, 1141k. However, owners of international registrations
do not file renewal applications at the USPTO. Instead, the holder must file a renewal of the underlying
international registration at the International Bureau of the World Intellectual Property Organization, under
Article 7 of the Madrid Protocol, before the expiration of each ten-year term of protection, calculated from the
date of the international registration. See 15 U.S.C. §1141j. For more information and renewal forms for the
international registration, see http://www.wipo.int/madrid/en/.

NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
USPTO website for further information. With the exception of renewal applications for registered
extensions of protection, you can file the registration maintenance documents referenced above online at h
ttp://www.uspto.gov.

NOTE: A courtesy e-mail reminder of USPTO maintenance filing deadlines will be sent to trademark
owners/holders who authorize e-mail communication and maintain a current e-mail address with the
USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
Electronic Application System (TEAS) Correspondence Address and Change of Owner Address Forms
available at http://www.uspto.gov.




                                          Page: 2 of 2 / RN # 5566242




                                                                                                            APL-STECH_00000249
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                                                               APL-STECH_00000250
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                                                               APL-STECH_00000251
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                                        UNITED STATES PATENT AND TRADEMARK OFFICE
                                        Trademark Trial and Appeal Board
                                        P.O. Box 1451
                                        Alexandria, VA 22313-1451
                                        General Contact Number: 571-272-8500
                                        General Email: TTABInfo@uspto.gov


                                        September 26, 2018

                                        Cancellation No. 92069578
                                        Registration No. 5566242

SOCIAL TECHNOLOGIES LLC

881 N. HIGHLAND AVENUE NE APT. 19
ATLANTA, GA 30306
                             APPLE INC.

                                               v.

                                        SOCIAL TECHNOLOGIES LLC

Glenn A. Gundersen
DECHERT LLP
CIRA CENTRE, 2929 ARCH STREET
PHILADELPHIA, PA 19104-2808


ESTTA924674


NOTICE OF INSTITUTION
The petitioner (plaintiff) identified above has filed a petition to cancel the above-
identified registration owned by respondent (defendant). This notice of institution is
forwarded pursuant to Trademark Rules 2.113(b) and (c), and constitutes service of
the petition to cancel on respondent. An electronic version of the petition to cancel is
viewable on TTABVUE at http://ttabvue.uspto.gov/ttabvue/. See Trademark Rule
2.113(a). The parties should diligently monitor this proceeding via TTABVUE.

RESPONDENT MUST FILE ANSWER THROUGH ESTTA
As required in the schedule below, respondent must file an answer within for-
ty (40) days from the date of this order. Failure to file a timely answer may re-
sult in the entry of default judgment and cancellation of the registration. Regarding
when a deadline falls on a Saturday, Sunday or federal holiday, see Trademark Rule




                                                                                APL-STECH_00000252
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2.196. Respondent must file the answer through ESTTA - Electronic System for
Trademark Trials and Appeals, unless ESTTA is unavailable due to technical prob-
lems or extraordinary circumstances are present. An answer filed on paper under
these limited circumstances must be accompanied by a Petition to the Director (and
the required fee under Trademark Rule 2.6). See Trademark Rule 2.114(b)(1). In
substance, respondent’s answer must comply with Fed. R. Civ. P. 8(b); it must ad-
mit or deny the allegations in the petition to cancel, and may include available de-
fenses and counterclaims. Regarding the form and content of an answer, see Trade-
mark Rule 2.114(b)(2) and TBMP § 311.

DUTY TO MAINTAIN ACCURATE CORRESPONDENCE INFORMATION
Throughout this proceeding, the parties, and their attorneys or representatives,
must notify the Board of any correction or update of physical address and email ad-
dress, and should use the ESTTA change of address form. See Trademark Rule
2.18(b); TBMP § 117.

SERVICE OF ANSWER AND OF ALL SUBMISSIONS
The service of the answer, and all other submissions in this proceeding, and of all
matters that are required to be served but not required to be filed in the proceeding
record, must be by email unless the parties stipulate otherwise. Trademark Rule
2.119(b). In the absence of a stipulation, service may be by other means only under
the limited circumstances and in a manner specified in Trademark Rule 2.119(b).
Regarding the signing and service of all submissions, see TBMP §§ 113-113.04.

The answer, and all other submissions, must include proof of service. As noted in
TBMP § 113.03, proof of service may be in the following certificate of service form:

      I hereby certify that a true and complete copy of the foregoing
      (insert title of submission) has been served on (insert name of
      opposing counsel or party) by forwarding said copy on (insert
      date of mailing), via email (or insert other appropriate method
      of delivery) to: (set out name, and address or email address of
      opposing counsel or party).

      Signature__________________________
      Date_______________________________

SUBMIT ALL FILINGS ONLINE VIA ESTTA
Submissions must be filed via ESTTA, the Board’s online filing system, unless
ESTTA is unavailable due to technical problems or extraordinary circumstances are
present. Trademark Rule 2.126(a). Submissions may be filed in paper form only
under the limited circumstances specified in Trademark Rule 2.126(b), with a re-
quired written explanation. ESTTA is accessible at the Board’s web page:
http://estta.uspto.gov/. The page has instructions and tips. ESTTA offers various

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                                                                             APL-STECH_00000253
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forms, some of which may require attachments and/or a fee. For technical questions,
a party may call 571-272-8500 (Mon. - Fri. 8:30 - 5:00 ET) or email
ESTTA@uspto.gov. This proceeding involves several deadlines, and due to potential
technical issues, parties should not wait until the deadline to submit filings. The
Board may decline to consider an untimely submission. Moreover, Trademark
Rule 2.126 sets forth the required form and format for all submissions (e.g., page
limitations), and the Board may decline to consider any submission that does not
comply with this rule, including, but not limited to motions, briefs, exhibits, and
deposition transcripts.

CONFERENCE, DISCOVERY, DISCLOSURE AND TRIAL SCHEDULE

Time to Answer                             11/5/2018
Deadline for Discovery Conference          12/5/2018
Discovery Opens                            12/5/2018
Initial Disclosures Due                     1/4/2019
Expert Disclosures Due                      5/4/2019
Discovery Closes                            6/3/2019
Plaintiff's Pretrial Disclosures Due       7/18/2019
Plaintiff's 30-day Trial Period Ends        9/1/2019
Defendant's Pretrial Disclosures Due       9/16/2019
Defendant's 30-day Trial Period Ends      10/31/2019
Plaintiff's Rebuttal Disclosures Due      11/15/2019
Plaintiff's 15-day Rebuttal Period Ends   12/15/2019
Plaintiff's Opening Brief Due              2/13/2020
Defendant's Brief Due                      3/14/2020
Plaintiff's Reply Brief Due                3/29/2020
Request for Oral Hearing (option) Due       4/8/2020




PARTIES ARE REQUIRED TO HOLD DISCOVERY CONFERENCE
The parties are required to schedule and hold a discovery conference by the dead-
line in the schedule in this order, or as reset by the Board. In the conference, the
parties are required to discuss, at a minimum, 1) the nature and basis of their
claims and defenses, 2) the possibility of promptly settling, or at least narrowing the
scope of claims or defenses, and 3) arrangements for disclosures, discovery, preserv-
ing discoverable information and introduction of evidence at trial. For guidance, see
Fed. R. Civ. P. 26(f), Trademark Rule 2.120(a)(2)(i) and TBMP §§ 401.01 and
408.01(a).

The parties must hold the conference in person, by telephone or by a means on
which they agree. A Board interlocutory attorney or administrative trademark
judge will participate in the conference either upon request of any party made no
later than ten (10) days prior to the conference deadline, or when the Board deems
it useful to have Board involvement. See Trademark Rule 2.120(a)(2)(i). A request
for Board participation must be made either through ESTTA, or by telephone call to

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                                                                               APL-STECH_00000254
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the assigned interlocutory attorney named on the TTABVUE record for this pro-
ceeding. A party requesting Board participation should first determine possible
dates and times when all parties are available. A conference with a Board attorney’s
participation will be by telephone in accordance with the Board’s instructions.

For efficiency, the parties may stipulate to various procedural and substantive dis-
closure, discovery and trial matters (e.g., modification of deadlines and obligations)
upon written stipulation and approval by the Board. Trademark Rule 2.120(a)(2)(iv)
provides a non-exhaustive list of matters to which parties may stipulate. The best
practice is to reduce all stipulations to writing. If email service is not practical, such
as for voluminous document production in discovery, the parties should discuss in
the conference how production will be made. The parties, and their attorneys or
representatives, have a duty to cooperate in the discovery process. TBMP §
408.01.

PROTECTIVE ORDER FOR CONFIDENTIAL INFORMATION
The Board's Standard Protective Order is automatically imposed in all inter partes
proceedings, and is available at: https://www.uspto.gov/trademarks-application-
process/appealing-trademark-decisions/standard-documents-and-guidelines-0. Dur-
ing their conference, the parties should discuss whether they will use an alternative
or modified protective order, subject to approval by the Board. See Trademark Rule
2.116(g) and TBMP § 412. The standard order does not automatically protect confi-
dential information; its provisions for designating confidential information must be
utilized as needed by the parties. Trademark Rule 2.126(c) sets forth the procedure
for filing confidential submissions.

ACCELERATED CASE RESOLUTION (ACR)
During their conference, the parties are to discuss whether they wish to seek media-
tion or arbitration, and whether they can stipulate to the Board's Accelerated Case
Resolution (ACR) process for a more efficient and cost-effective means of obtaining
the Board’s determination of the proceeding. For details, and examples of ACR pro-
ceedings, see TBMP § 528, and the Board's webpage: http://www.uspto.gov/ttab.

INITIAL DISCLOSURES AND DISCOVERY
Regarding the deadline for and contents of initial disclosures, see Trademark Rules
2.120(a)(1) and (2)(i), and TBMP § 401.02. Regarding deadlines for serving and re-
sponding to discovery, see Trademark Rule 2.120(a)(3) and TBMP § 403.03. Certain
provisions of Fed. R. Civ. P. 26 are applicable in modified form. Note that written
discovery (interrogatories, requests for production, requests for admission) must be
served early enough so that responses will be due no later than the close of dis-
covery. Regarding the scope and limits of discovery, see TBMP 414; discoverable
items may include documents, tangible things, and electronically stored information
(ESI).



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MOTIONS
Certain provisions of Fed. R. Civ. P. 11 apply to all submissions in Board proceed-
ings. See TBMP § 527.02. Regarding available motions, see TBMP Chapter 500. Re-
garding applicable deadlines to respond to motions, depending on the motion filed,
see Trademark Rules 2.127(a) and (e)(1). When a party timely files a potentially
dispositive motion the proceeding is suspended with respect to all matters not ger-
mane to the motion. See Trademark Rule 2.127(d). In addressing motions or other
filings, if it appears to the Board that a telephone conference would be beneficial, or
upon request of one or both parties, the Board may schedule a conference. See
Trademark Rule 2.120(j)(1) and TBMP § 502.06(a).

PRETRIAL DISCLOSURES, TRIAL AND BRIEFING
Regarding the procedures and deadlines for pretrial disclosures and trial, and spe-
cifically the noticing, taking, serving and submitting of evidence and testimony, see
Trademark Rules 2.120(k), 2.121, 2.122, 2.123 and 2.125, as well as TBMP Chapter
700. The parties should review these authorities. For example: witness testimony
may be submitted in the form of affidavit or declaration subject to the right to oral
cross examination; transcripts of testimony depositions, with exhibits, must be
served on each adverse party within thirty (30) days after completion of taking the
testimony; certified transcripts and exhibits must be filed, with notice of such filing
served on each adverse party; and all notices of reliance must be submitted during
the submitting party's assigned testimony period and must indicate generally the
relevance the evidence and associate it with one or more issues.

Main briefs shall be filed in accordance with Trademark Rules 2.128(a) and (b). An
oral hearing is not required, but will be scheduled upon separate notice timely filed
pursuant to Trademark Rule 2.129(a). Regarding briefs and oral hearings, see
TBMP §§ 801-802.

LEGAL RESOURCES AVAILABLE AT WEB PAGE
For a general description of Board proceedings, see TBMP §102.03. Proceedings are
governed by the Trademark Rules of Practice in Parts 2 and 7 of Title 37 of the
Code of Federal Regulations. These rules, the Manual of Procedure (TBMP), infor-
mation on Accelerated Case Resolution (ACR) and Alternative Dispute Resolution
(ADR), and many Frequently Asked Questions, are available on the Board’s web
page, at:
http://www.uspto.gov/ttab. The parties should check the web page for important
changes, announcements, etc., many of which apply to proceedings already in pro-
gress.

PARTIES NOT REPRESENTED BY COUNSEL
This proceeding is similar to a civil action in a federal district court and can be
complex. The Board strongly advises all parties to secure the services of an attor-
ney who is familiar with trademark law and Board procedure. The Board cannot aid

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                                                                               APL-STECH_00000256
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in the selection of an attorney. See TBMP § 114.02. The Board requires strict com-
pliance with all applicable authorities whether or not the party is represented by
counsel.

NOTIFY BOARD OF ALL PENDING ACTIONS
If the parties are, or during the pendency of this proceeding become, parties in an-
other Board proceeding or a civil action involving the same or related marks, or in-
volving any issues of law or fact which are also in this proceeding, they shall notify
the Board immediately. See Trademark Rule 2.106(b)(3)(i). The Board will consoli-
date and/or suspend related Board proceedings, as appropriate. See Trademark
Rule 2.117(c); TBMP §§ 510 and 511.




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                                                                              APL-STECH_00000257
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                                             Trademark Trial and Appeal Board Electronic Filing System. http://estta.uspto.gov
                                                                   ESTTA Tracking number:           ESTTA924674
                                                                                 Filing date:         09/26/2018

                       IN THE UNITED STATES PATENT AND TRADEMARK OFFICE
                         BEFORE THE TRADEMARK TRIAL AND APPEAL BOARD

                                        Petition for Cancellation
Notice is hereby given that the following party has filed a petition to cancel the registration indicated below.

Petitioner Information
 Name                  APPLE INC.
 Entity                Corporation                       Citizenship               CALIFORNIA
 Address               ONE APPLE PARK WAY
                       CUPERTINO, CA 95014
                       UNITED STATES

 Attorney informa-     Glenn A. Gundersen
 tion                  DECHERT LLP
                       CIRA CENTRE, 2929 ARCH STREET
                       PHILADELPHIA, PA 19104-2808
                       UNITED STATES
                       glenn.gundersen@dechert.com, jennifer.insley-pruitt@dechert.com, trade-
                       marks@dechert.com
                       215-994-2183


Registration Subject to Cancellation
 Registration No.      5566242                           Registration date         09/18/2018
 Registrant            SOCIAL TECHNOLOGIES LLC
                       881 N. HIGHLAND AVENUE NE
                       APT. 19
                       ATLANTA, GA 30306
                       UNITED STATES
                       Email: gmavronicolas@mavrolaw.com


Goods/Services Subject to Cancellation
 Class 009. First Use: 2018/06/28 First Use In Commerce: 2018/06/28
 All goods and services in the class are subject to cancellation, namely: Computer application soft-
 ware for mobile phones, namely, software for recording, editing, and distributing images, videos, and
 audio; computer application software for mobile phones, computers, and tablets, namely, software for
 recording, editing, and distributing images, videos, and audio; downloadable mobile applications for
 recording, editing, and distributing images, videos, and audio; downloadable software in the nature of
 a mobile application for recording, editing, and distributing images, videos, and audio

Grounds for Cancellation
 Priority and likelihood of confusion                    Trademark Act Sections 14(1) and 2(d)



Mark Cited by Petitioner as Basis for Cancellation




                                                                                                           APL-STECH_00000258
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U.S. Application    87397135                      Application Date    04/03/2017
No.
Registration Date   NONE                          Foreign Priority    NONE
                                                  Date
Word Mark           MEMOJI
Design Mark




Description of      NONE
Mark
Goods/Services      Class 009. First use: First Use: 2014/10/01 First Use In Commerce: 2014/10/01
                    Computer application software for mobile phones and other computing devices,
                    namely, software for creating and sending emoticons; Downloadable software in
                    the nature of a mobile application for creating and sending emoticons


Attachments         87397135#TMSN.png( bytes )
                    MEMOJI Petition for Cancellation.pdf(126744 bytes )

Signature           /Jennifer Insley-Pruitt/
Name                Jennifer Insley-Pruitt
Date                09/26/2018




                                                                                        APL-STECH_00000259
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                  IN THE UNITED STATES PATENT AND TRADEMARK OFFICE
                    BEFORE THE TRADEMARK TRIAL AND APPEAL BOARD

In re Registration No. 5,566,242
Trademark: MEMOJI & Design



Apple Inc.,

                                Petitioner,
                                                          Cancellation No. ______
             v.

Social Technologies LLC,

                                Registrant.



                                PETITION FOR CANCELLATION

        Petitioner Apple Inc., a California corporation with an address at One Apple Park Way,

 Cupertino, California 95014, believes that it will be damaged by the continued registration of

 U.S. Registration No. 5,566,242 of the mark MEMOJI & Design and hereby petitions to cancel

 the same. As grounds for its petition for cancellation, Apple, by its attorneys Dechert LLP,

 alleges as follows:

        1.         Apple is the owner of use-based Application Serial No. 87/397,135 (“Apple’s

 Application”) to register the mark MEMOJI (the “MEMOJI Mark”) for “computer application

 software for mobile phones and other computing devices, namely, software for creating and

 sending emoticons; [d]ownloadable software in the nature of a mobile application for creating

 and sending emoticons” in International Class 9.




                                                                                          APL-STECH_00000260
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       2.      The MEMOJI Mark was first used in connection with the software identified in

Apple’s Application as early as October 1, 2014, and has been used since then by Apple or its

predecessors in interest.

       3.      Apple’s MEMOJI software uses video of an individual to create emoji that

resemble the individual.

       4.      Apple’s MEMOJI software has attracted extensive press coverage, with articles

about the product appearing in general interest publications such as The Wall Street Journal,

New York Magazine, Salon, Slate, and CNBC.com and in Gizmodo, TechCrunch, CNET, and

other technology-oriented sources.

       5.      Upon information and belief, Registrant Social Technologies LLC (“Registrant”)

is a Georgia limited liability company with an address at 881 N. Highland Avenue NE, Apt. 19,

Atlanta, Georgia 30306.

       6.      According to the online records of the United States Patent and Trademark Office

(“USPTO”), on April 1, 2016, Registrant filed Application Serial No. 86/961,925 (“Registrant’s

Application”) to register MEMOJI & Design (the “Registered Mark”), as shown below, based on

an alleged intent to use that mark in connection with “[c]omputer application software for mobile

phones, namely, software for recording, editing, and distributing images, videos, and audio;

computer application software for mobile phones, computers, and tablets, namely, software for

recording, editing, and distributing images, videos, and audio; downloadable mobile applications

for recording, editing, and distributing images, videos, and audio; downloadable software in the

nature of a mobile application for recording, editing, and distributing images, videos, and audio”

in International Class 9.


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        7.      According to the records of the USPTO, on June 30, 2018 Registrant filed a

Statement of Use with respect to Registrant’s Application, claiming to have first used the

Registered Mark on June 28, 2018.

        8.      The specimen of use submitted with Registrant’s Statement of Use describes its

MEMOJI software as a “messaging app that will capture the facial impression of the end user

with full-motion capabilities, and transpose the image into a custom, personalized emoji of the

users [sic] actual face.”

        9.      According to the records of the USPTO, on September 18, 2018, Registrant’s

Application matured to registration as U.S. Registration No. 5,566,242 (the “Registration”).

        10.     On June 26, 2017 and again on June 5, 2018, the USPTO issued a Suspension

Notice suspending action on Apple’s Application pending the registration of Registrant’s

Application.

        11.     In the Suspension Notice dated June 5, 2018, the Examining Attorney stated that

“[i]f the mark in [Registrant’s Application] registers, [Apple’s MEMOJI Mark] may be refused

registration under Section 2(d) because of a likelihood of confusion with that registered mark[].”

                                       COUNT 1:
                        PRIORITY AND LIKELIHOOD OF CONFUSION

        12.     Apple repeats and re-alleges the allegations set forth in paragraphs 1 through 11

as though fully set forth herein.


                                                -3-




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       13.     Upon information and belief, the filing date of Registrant’s Application is the

earliest date upon which Registrant can rely to establish rights in the Registered Mark.

       14.     The filing date of Registrant’s Application is long after the date of first use of

Apple’s MEMOJI Mark.

       15.     As such, Apple’s rights in the MEMOJI Mark are prior and superior to any rights

Registrant could claim in the Registered Mark.

       16.     The Registered Mark is identical in sound and commercial impression to Apple’s

prior used MEMOJI Mark.

       17.     The identification of goods in the Registration also describes the goods in

connection with which Apple’s MEMOJI Mark has been used since prior to the filing date of

Registrant’s Application.

       18.     Upon information and belief, the app in connection with which Registrant uses

the Registered Mark has the same fundamental functionality as the app in connection with which

Apple uses its MEMOJI Mark – namely, it allows users to create personalized emojis.

       19.     Given the similarity of the parties’ respective goods and marks, Registrant’s use

of the Registered Mark in connection with Registrant’s goods is likely to cause confusion as to

the source of Registrant’s goods.

       20.     The Examining Attorney has indicated that the Registration will be a basis for

refusing Apple’s Application, despite the fact that Apple’s rights in the MEMOJI Mark are prior

and superior to any rights that Registrant may claim in the Registered Mark.




                                                -4-




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       21.     The continued presence of the Registration on the federal trademark register is

therefore inconsistent with Apple’s prior rights in its MEMOJI Mark and is causing injury and

damage to Apple by preventing Apple from registering its MEMOJI Mark.

       22.     By reason of the foregoing, Apple is likely to be harmed by continued registration

of the Registered Mark.



Wherefore, it is respectfully requested that this Petition for Cancellation be sustained and that

U.S. Registration No. 5,566,242 be cancelled.


Dated: September 26, 2018                     By:
                                                      Glenn A. Gundersen
                                                      Jennifer Insley-Pruitt
                                                      DECHERT LLP
                                                      Cira Centre
                                                      2929 Arch Street
                                                      Philadelphia, PA 19104-2808
                                                      (215) 994-2183

                                                      Counsel for Petitioner




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                                       Trademark Trial and Appeal Board Electronic Filing System. http://estta.uspto.gov
                                                             ESTTA Tracking number:           ESTTA930749
                                                                           Filing date:         10/24/2018

                 IN THE UNITED STATES PATENT AND TRADEMARK OFFICE
                   BEFORE THE TRADEMARK TRIAL AND APPEAL BOARD
Proceeding       92069578
Party            Defendant
                 SOCIAL TECHNOLOGIES LLC
Correspondence   SOCIAL TECHNOLOGIES LLC
Address          881 N. HIGHLAND AVENUE NE, APT. 19
                 ATLANTA, GA 30306
                 UNITED STATES
                 gmavronicolas@mavrolaw.com
                 no phone number provided

Submission       Motion to Suspend for Civil Action
Filer's Name     Greg Mavronicolas
Filer's email    gmavronicolas@mavrolaw.com
Signature        /Greg Mavronicolas/
Date             10/24/2018
Attachments      TTAB Motion for Suspension .pdf(519214 bytes )




                                                                                                     APL-STECH_00000265
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              IN THE UNITED STATES PATENT AND TRADEMARK OFFICE
                BEFORE THE TRADEMARK TRIAL AND APPEAL BOARD


In the matter of Registration No.: 5,566,242
Trademark: MEMOJI & Design
------------------------------------------------------
Apple Inc.,                                            )
                                                       )
                           Petitioner,                 )
         V.                                            )    Cancellation No. 92069578
                                                       )
Social Technologies LLC,                               )
                                                       )
                           Registrant.                 )
------------------------------------------------------


          MOTION TO SUSPEND PROCEEDING IN VIEW OF PENDING CIVIL
               ACTION PURSUANT TO TRADEMARK RULE 2.117(a)

         The parties are engaged in a civil action which may have a bearing on this proceeding.

Accordingly, Social Technologies LLC (“Registrant”) hereby requests suspension of this

proceeding pending a final determination of the civil action. Trademark Rule 2.117(a), 37 C.F.R.

§ 2.117(a). In support of this Motion, Registrant submits herewith Exhibit A, which is a copy of

a Complaint filed on September 26, 2018 by Registrant. The civil action is pending in the United

States District Court, Northern District of California.

         Whenever it comes to the attention of the Board that the parties to a case before it are

involved in a civil action which may be dispositive of the Board case, the proceedings before the

Board may be suspended upon final determination of the civil action. TBMP § 510.02(a).

However, a civil action need not be dispositive on the issues for the Board to suspend proceedings.

Ordinarily, the Board will suspend proceedings in the case before it if the final determination of

the other proceedings may have a bearing on the issues before the Board. TBMP § 510.02, citing

37 C.F.R. § 2.117(a); see, e.g., New Orleans Louisiana Saints LLC v. Who Dat? Inc., 99




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U.S.P.Q.2d 1550, 1552 (TTAB 2011) (civil action need not be dispositive of Board proceeding,

but only needs to have bearing on issues before the Board).

       In the Complaint, Registrant alleges willful, deliberate infringement of the MEMOJI mark

by Petitioner. Suspension of Board proceedings is within the discretion of the TTAB, and will

generally be granted when a final decision of the court will likely be controlling on the issues to

be decided by the TTAB. In Whopper Burger, Inc. v. Burger King Corp., 171 U.S.P.Q. 805, 807

(TTAB 1971), the Board suspended proceedings, finding that “There can be no doubt that issues

involved in the civil action are involved here, specifically the determination of ownership of the

contested mark.” In view of the fact that the pending civil action involves the determination of

ownership of the contested mark, and that issue will impact the pending trademark application and

the opposition to the same, the determination of these issues in the civil action will likely be

dispositive of, or will at least have bearing on, this proceeding. Applicant therefore respectfully

requests suspension of these proceedings pending determination of the civil action.



Dated: October 24, 2018




Greg Mavronicolas
MAVRONICOLAS & DEE LLP
3 PARK AVENUE, 15TH FLOOR
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Attorney for Registrant




                                                                                          APL-STECH_00000267
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                               CERTIFICATE OF SERVICE

I certify that on this date a copy of the foregoing Motion to Suspend Proceeding in View of
Pending Civil Action was served on counsel for Petitioner, this 24th Day of October 2018, by
sending the same via email to: glenn.gundersen@dechert.com, Jennifer.insley-
pruitt@dechert.com, trademarks@dechert.com




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Attorney for Registrant




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                            EXHIBIT A




                                                                APL-STECH_00000269
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7     3 Park Avenue, 15th Floor
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8     T: (646) 770-1256
      F: (866) 774-9005
9
10    Attorneys for Plaintiff Social Technologies LLC

11
                                    UNITED STATES DISTRICT COURT
12                                NORTHERN DISTRICT OF CALIFORNIA

13
14    SOCIAL TECHNOLOGIES LLC, a Georgia                Case Number:
15    limited liability company,

16                   Plaintiff,                         COMPLAINT FOR

17           vs.                                        (1) Trademark Infringement
                                                           (Lanham Act)
18
      APPLE INC., a California corporation,
19                                                      (2) Trademark Infringement
                     Defendant.                            (Common Law)
20
                                                        (3) Unfair Competition (Cal. Bus.
21                                                         & Prof. Code §17200)
22
                                                        (4) Declaratory Judgment of Validity
23
                                                        (5) Declaratory Judgment of Non-
24                                                      Infringement
25
26                                                      DEMAND FOR JURY TRIAL

27
28
                                                        1
                                                  Complaint




                                                                                       APL-STECH_00000270
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             Plaintiff Social Technologies Inc. (“Social Tech”) brings this action to enjoin Apple, Inc.’s
1
2     (“Apple”) illegal use of Social Tech’s MEMOJI trademark. Social Tech seeks preliminary and

3     permanent injunctive relief and all other remedies available under the laws of the United States and

4     the State of California and alleges with knowledge as to itself and its own acts, and on information
5     and belief as to all other matters, as follows:
6
                                             NATURE OF ACTION
7
             1.      In April, 2016, Social Tech filed an intent-to-use application with the PTO for a
8
      stylized mark which includes as its dominant element the word “MEMOJI”.
9
10           2.      Social Tech uses the mark in commerce in connection with a messaging mobile

11    application and has received a registered trademark (hereinafter “MEMOJI”).
12           3.      Before Social Tech obtained the registration, and with full notice of Social Tech’s
13
      pending application, Apple, upon information and belief, formed a subsidiary - non-party Memofun
14
      Apps LLC (“Memofun”) - to become the assignee of purported goodwill connected to a forgotten
15
      and abandoned mobile application using the name Memoji, and a suspended trademark application
16
17    that went along with it, from non-party assignors Big 3 ENT, LLC and Lucky Bunny, LLC.

18           4.      Memofun then assigned those purported rights to Defendant Apple on June 4, 2018.

19           5.      On the same day, Apple announced a feature for its new operating system, which
20    was subsequently released to the public on September 17, 2018, called and marketed as “Memoji”
21
      (hereinafter the “Infringing Memoji”).
22
             6.      Apple’s Infringing Memoji feature allows users to make animated caricatures of
23
      themselves and send them in messages to friends and family.
24
25           7.      As Apple well knew, however, Social Tech had a pending trademark application and

26    had used the MEMOJI mark in commerce on an app available in the Google Play store since June

27    28, 2018, and in online marketing prior thereto.
28
                                                           2
                                                        Complaint




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             8.      Social Tech’s MEMOJI app allows users to send edited pictures and videos in
1
2     messages to others.

3            9.      The United States Patent and Trademark Office (“PTO”) registered MEMOJI to

4     Social Tech on September 18, 2018 (Reg. No. 5,566,242).
5            10.     Apple’s Infringing Memoji deliberately infringes on Social Tech’s MEMOJI mark.
6
      Social Tech thus brings this action for preliminary and permanent injunctive relief and all other
7
      remedies available to address Apple’s deliberate and unlawful conduct.
8
                                                    PARTIES
9
10           11. Plaintiff Social Technologies LLC is a limited liability company organized and existing

11    under the laws of the State of Georgia and has a principal place of business in Atlanta, Georgia.
12           12.     Defendant Apple, Inc. is a corporation organized and existing under the laws of the
13
      State of California and has a principal place of business in Cupertino, California.
14
                                      JURISDICTIONAL STATEMENT
15
                                                   Jurisdiction
16
17           13.     The Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1331 and 1338,

18    15 U.S.C. § 1116 and 1125, and 28 U.S.C. § 1367.

19                                                    Venue
20           14.     Venue lies within this district because a substantial part of the events giving rise to
21
      these claims occurred in this district and Apple resides in this district for purposes of 28 U.S.C. §
22
      1391(b) and (c).
23
                                            Intradistrict Assignment
24
25           15.     This action arises in Santa Clara County because a substantial part of the events

26    giving rise to the claim occurred in Santa Clara County. This is an intellectual property action subject

27    to district-wide assignment pursuant to Civil L.R. 3-2(c).
28
                                                         3
                                                     Complaint




                                                                                             APL-STECH_00000272
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                                        FACTUAL ALLEGATIONS
1
2                                       Social Tech’s MEMOJI App

3            16.     Social Tech is a company focused on the development of mobile applications to

4     enhance the personal messaging experience. Social Tech has previously released an app known as
5     “HELLOJIS” and another more recently, “MEMOJI”.
6
             17.     Social Tech’s MEMOJI app allows users to edit videos and photographs and send as
7
      messages. Social Tech came up with the name MEMOJI in 2016 and filed an intent-to-use
8
      application on April 1, 2016 after seeing that the name was not in use.
9
10    Social Tech’s MEMOJI trademark is:

11
12
13
14
15
             18.     On November 15, 2017, the PTO issued a “Notice of Publication” for MEMOJI,
16
      explaining that “The mark of the application identified appears to be entitled to registration,” and
17
      that the mark would be published on December 5, 2017.
18
19           19.     No opposition was filed with the PTO, and the PTO entered a Notice of Allowance

20    on January 30, 2018.

21           20.     On or around May 21, 2018, an unknown person believed to be acting at the direction
22    of Apple left a message with Social Tech inquiring about buying its rights in the name MEMOJI.
23
             21.     Social Tech returned the call and, after the inquiring person declined to identify the
24
      company he worked for, indicated that its rights in the name MEMOJI were not for sale.
25
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                                                       4
                                                   Complaint




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             22.    Social Tech filed its Statement of Use on June 30, 2018 and the PTO registered Social
1
2     Tech’s MEMOJI mark on September 18, 2018 (Reg. No. 5,566,242}, with a “first use” and use “in

3     commerce” of June 28, 2018 - the date the app became available through the Google Play store:

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17                           Apple Announces “Memoji” for Its New iPhone
18
             23.    On June 4, 2018, Apple announced its new iPhone operating system for the iPhone.
19
      Among the new features Apple touted in the press release was the Infringing Memoji.
20
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                                                  Complaint




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13
      Apple’s press release detailed the Infringing Memoji feature in more detail:
14
15                   New features make communicating with friends and family from
                     iPhone X more expressive with new Animoji and personalized
16                   Memoji characters that are customizable and fun. Create beautifully
                     designed Memoji right within Messages by choosing from a set of
17                   inclusive and diverse characteristics to form a unique personality. The
18                   existing set of Animoji also expands with ghost, koala, tiger and T.
                     rex. All Animoji and Memoji now feature winks and tongue detection
19                   to capture even more expressions.

20    https://www.apple.com/newsroom/2018/06/apple-previews-ios-12/
21
22           24.     Apple aggressively marketed the Infringing Memoji as a part of the launch of its new

23    operating system.

24                     Apple’s Willful Infringement Causes Confusion and Damage
25           25.     Apple’s launch of the Infringing Memoji completely swamped Social Tech’s efforts
26
      to associate the MEMOJI mark with its own brand.
27
             26.     MEMOJI is an invented word that does not appear in any common dictionaries.
28
                                                       6
                                                   Complaint




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             27.     Both Social Tech and Apple are using MEMOJI for very similar products: software
1
2     to create images using a device’s camera that are edited, embedded into messages and sent. Both

3     have filed PTO applications under the same Class (09 Computer Application Software – Social

4     Tech’s has matured to registration; Apple’s is “suspended” because of Social Tech’s prior filed
5     application and likelihood of confusion).
6
             28.     Both Social Tech and Apple are marketing their MEMOJI brands using very similar
7
      messaging: for Social Tech, that MEMOJI is “The world’s best messaging app that will capture the
8
      facial expression of the end user with full-motion capabilities, and transpose the image into a
9
10    custom, personalized emoji of the users actual face;” for Apple, its Infringing Memoji feature

11    “make[s] communicating with friends and family from iPhone X more expressive with . . .
12    personalized Memoji characters that are customizable and fun”.
13
             29.     Both Social Tech and Apple are using their products through the same channels,
14
      namely, through mobile phones and devices—for Social Tech MEMOJI is available through the
15
      Google Play store for use on Android phones; for Apple, Infringing Memoji is touted as a messaging
16
17    feature for iPhones and iPads.

18           30.     These obvious similarities, coupled with the sheer size of Apple compared to small

19    startup Social Tech, make it difficult for Social Tech to protect its MEMOJI brand and reputation,
20    and to develop goodwill and identity.
21
             31.     After Apple used its biggest platform - its yearly keynote address - to announce the
22
      Infringing Memoji, Social Tech decided to cut its funding and development process short and
23
      advance the timeline for its MEMOJI app (to stem whatever loss it could from Apple’s use of the
24
25    Infringing Memoji.

26           32.     Social Tech released a basic but functional version of its app through the Google

27    Play store on June 28, 2018.
28
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                                                   Complaint




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             33.     If Apple had not announced its Infringing Memoji product, Social Tech could have
1
2     proceeded with the full development of the MEMOJI app on its planned schedule and released a

3     more complete product rather than having to rush to market with a more basic product.

4            34.     Apple’s infringing product has, since the day of its announcement, caused Social
5     Tech to lose control of its brand: a Google search and YouTube search for MEMOJI is dominated
6
      by Apple’s Infringing Memoji.
7
             35.     Apple is a classic willful infringer. Apple knew about Social Tech’s senior rights to
8
      MEMOJI, both as a matter of registration with the PTO and a matter of use by Social Tech in
9
10    commerce.

11           36.     Apple knew that its Infringing Memoji feature was such a closely related service to
12    Social Tech’s MEMOJI app that confusion was virtually certain, and Apple knew or should have
13
      known that its assignment from Lucky Bunny was in gross. Yet, Apple still went ahead and used
14
      the Infringing Memoji mark anyway.
15
             37.     As expected, comments posted online by users and potential users have expressed
16
17    actual confusion and frustration after finding Social Tech’s MEMOJI instead of Apples, a classic

18    case of reverse confusion. In one instance, a negative review was left on Social Tech’s Google Play

19    store because Social Tech MEMOJI didn’t offer the same functionality as Apple’s Infringing
20    Memoji.
21
             38.     Counsel for Social Tech sent a letter to Apple on June 13, 2018, informing Apple of
22
      Social Tech’s full intention to release its MEMOJI app and carry through filing the of Statement of
23
      Use to obtain a registration.
24
25           39.     Despite this notice and subsequent registration of Social Tech’s MEMOJI mark on

26    September 18, 2018, Apple has not changed the name of its Infringing Memoji feature or stopped

27    its willful, deliberate infringement of Social Tech’s mark.
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                                                    Complaint




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              40.     In or about September 2018, Apple released its new operating system to the general
1
2     public with the Infringing Memoji feature included.

3             41.     This release has exacerbated the confusion that Apple started with its June 4, 2018

4     product announcement and will result in the further association of the MEMOJI mark with Apple
5     even though the name belongs to Social Tech.
6
7
                                          FIRST CAUSE OF ACTION
8
                                     (Trademark Infringement – Lanham Act)
9
10            42.     Social Tech repeats and realleges each and every previous allegation and

11    incorporates them by reference as if fully set forth herein.
12            43.     Social Tech has used the MEMOJI mark to seek investors since April 2016.
13
              44.     Social Tech has used the MEMOJI mark since January 4, 2017 on its website and on
14
      YouTube.
15
              45.     Social Tech has used the MEMOJI mark since June 28, 2018 on the Google Play
16
17    store where its app is offered, as well as on Facebook and other social media, in an effort to identify

18    with MEMOJI across the United States, including California, and worldwide.

19            46.     In addition, Social Tech has a valid, registered trademark (Reg. No. 5,566,242) for
20    MEMOJI. Social Tech thus has an action under the Lanham Act’s protections for registered and
21
      unregistered marks.
22
              47.     Apple’s use of the Infringing Memoji mark infringes on Social Tech’s MEMOJI
23
      mark and has caused and will likely continue to cause confusion as to source, sponsorship,
24
25    affiliation, or association.

26            48.     With two companies using the near identical mark consisting of a made-up word to

27    sell a very similar product (both related to mobile messaging), confusion is highly likely: actual or
28
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                                                    Complaint




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      potential customers of Social Tech’s MEMOJI are likely to be confused and believe Apple is the
1
2     true source, sponsor, or approver of Social Tech’s app, and vice versa; actual or potential customers

3     of Apple’s Infringing Memoji may be confused and believe Social Tech is the true source, sponsor,

4     or approver of Apple’s “Memoji.”
5             49.    Apple’s wrongful activities have caused Social Tech irreparable injury. Even after
6
      receiving the June 13, 2018 letter from Social Tech’s counsel, Apple continues to use the Infringing
7
      Memoji mark. This causes injury and loss of control over Social Tech’s goodwill and reputation,
8
      and loss of identity and ability to move into new markets that cannot be remedied through damages,
9
10    and Social Tech has no adequate remedy at law.

11            50.    Social Tech is entitled to preliminary and permanent injunctions pursuant to 15
12    U.S.C. § 1116 restraining and enjoining Apple and its agents, servants, employees, and all persons
13
      acting thereunder, in concert with, or on their behalf, from using in commerce the Infringing Memoji
14
      mark or any colorable imitation thereof.
15
              51.    Pursuant to 15 U.S.C. § 1117, Social Tech is also entitled to recover (1) Apple’s
16
17    profits (2) Social Tech’s ascertainable damages, and (3) Social Tech’s costs of suit.

18            52.    Apple’s willful infringement of Social Tech’s MEMOJI mark without excuse or

19    justification renders this an exceptional case and entitles Social Tech to its reasonable attorneys’
20    fees.
21
                                       SECOND CAUSE OF ACTION
22
                                 (Trademark Infringement – Common Law)
23
              53.    Social Tech repeats and realleges each and every previous allegation and
24
25    incorporates them by reference as if fully set forth herein.

26            54.    Social Tech has common law rights in the MEMOJI mark under California law.

27    Social Tech has used the MEMOJI mark since April 2016 in seeking investors, since January 4,
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                                                    Complaint




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      2017 on its website and on YouTube, and since June 28, 2018 on the Google Play store where its
1
2     app is offered, as well as on Facebook and other social media, all starting several years before Apple

3     announced its Infringing Memoji feature on June 4, 2018.

4               55.   Apple’s use of the Infringing Memoji mark infringes on Social Tech’s MEMOJI
5     mark and has caused and will likely continue to cause confusion as to source, sponsorship,
6
      affiliation, or association.
7
                56.   Apple’s wrongful activities have caused Social Tech irreparable injury which cannot
8
      be remedied through damages, and Social Tech has no adequate remedy at law. Social Tech is
9
10    entitled to preliminary and permanent injunctions pursuant to 15 U.S.C. § 1116 restraining and

11    enjoining Apple and its agents, servants, employees, and all persons acting thereunder, in concert
12    with, or on their behalf, from using in commerce the Infringing Memoji mark or any colorable
13
      imitation thereof.
14
                57.   Social Tech is also entitled to recover (1) Apple’s profits (2) Social Tech’s
15
      ascertainable damages, and (3) Social Tech’s costs of suit. Apple’s willful infringement of Social
16
17    Tech’s MEMOJI mark without excuse or justification entitles Social Tech to its reasonable attorney

18    fees and punitive damages.

19                                      THIRD CAUSE OF ACTION
20                (Unfair Competition – Cal. Bus. & Prof. Code § 17200 and Common Law)
21
                58.   Social Tech repeats and realleges each and every previous allegation and
22
      incorporates them by reference as if fully set forth herein.
23
                59.   Apple’s acts, as alleged above, constitute unlawful and/or unfair business practices
24
25    in violation of the California Unfair Competition Law (“UCL”), Cal. Bus. & Prof. Code §§ 17200

26    et seq.

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             60.     Apple’s acts are unlawful and/or unfair under the UCL because Apple’s use of the
1
2     Infringing Memoji mark in California is likely to confuse consumers as to the source, origin, or

3     affiliation of both Social Tech’s and Apple’s services.

4            61.     Apple’s acts of unfair competition in the state of California have caused Social Tech
5     irreparable injury. Social Tech believes that unless said conduct is enjoined by this Court, Apple
6
      will continue and expand these activities to the continued and irreparable injury of Social Tech. This
7
      injury includes injury to Social Tech’s reputation that cannot be remedied through damages, and
8
      Social Tech has no adequate remedy at law.
9
10           62.     Social Tech is entitled to preliminary and permanent injunction restraining and

11    enjoining Apple and its agents, servants, employees, and all persons acting thereunder, in concert
12    with, or on their behalf, from using in commerce the Infringing Memoji trademark or any colorable
13
      imitation thereof.
14
             63.     As a direct and proximate result of Apple’s statutory unfair competition, Apple has
15
      been unjustly enriched in an amount to be determined at trial.
16
17                                     FOURTH CAUSE OF ACTION

18          (DECLARATORY JUDGMENT THAT SOCIAL TECH’S TRADEMARK
       REGISTRATONS ARE VALID AND ENFORCEABLE UNDER THE REQUIREMENTS
19                     OF THE PTO AND THE LANHAM ACT)
20           64.     Social Tech repeats and realleges each and every previous allegation and
21
      incorporates them by reference as if fully set forth herein.
22
             65.     An actual case or controversy exists between Social Tech and Apple as to whether
23
      Social Tech has the right to use the trademarks they created under the Lanham Act, 15 U.S.C. §§
24
25    1051 et seq., and that Social Tech’s U.S. Trademark Registration No. 5,566,242 for the stylized

26    wording “MEMOJI” is a valid and enforceable registration as issued by the United States Patent and

27    Trademark Office.
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                                                    Complaint




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             66.     In a letter dated June 14, 2018, counsel for Apple stated to Social Tech, through
1
2     counsel, that if Social Tech’s application matured to registration, which it since has, “Apple will be

3     able to cancel the registration because Apple’s common law rights in the MEMOJI mark predate

4     your client’s April 1, 2016 filing date.”
5            67.     Apple stated in the same letter that, assuming likelihood of confusion – which Apple
6
      has since admitted - Social Tech’s use of its MEMOJI mark infringes Apple’s Infringing Memoji
7
      “because Apple’s rights are prior to those of [Social Tech]”.
8
             67.     Apple has no common law rights in the MEMOJI mark.
9
10           68.     A judicial declaration is therefore necessary and appropriate so that Social Tech may

11    ascertain its rights regarding the use of its trademark registration under 15 U.S.C. §§ 1051 et seq.
12           69.     Social Tech seeks a declaration that it owns and has the right to use its MEMOJI
13
      trademark for any and all purposes and that its MEMOJI Mark is a valid, enforceable and federally
14
      registered mark protectible under the Lanham Act as issued by the PTO. In addition, Social Tech
15
      seeks a declaration that Apple is not entitled to a federal registration for the mark MEMOJI.
16
17                                       FIFTH CAUSE OF ACTION

18             (DECLARATION OF NON-INFRINGEMENT UNDER COMMON LAW)

19           70.     Social Tech repeats and realleges each and every previous allegation and
20    incorporates them by reference as if fully set forth herein.
21
             70.     Social Tech’s seeks a judicial declaration that its use of its MEMOJI mark does not
22
      infringe, and at all times has not infringed, any existing and valid marks owned by Apple through
23
      common law use.
24
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                                           PRAYER FOR RELIEF
1
2            WHEREFORE, Social Tech hereby requests that this Court:

3            A.      Enter preliminary and permanent injunctions restraining and enjoining Apple and its

4     agents, servants, employees, and all persons acting thereunder, in concert with, or on their behalf,
5     from using in commerce the Infringing Memoji mark or any colorable imitation or confusingly
6
      similar variation thereof;
7
             B.      Award Social Tech its ascertainable damages, costs, and attorney fees, including
8
      royalty fees, damages for corrective advertising, and punitive damages;
9
10           C.      Award Social Tech Apple’s profits attributable to Apple’s unauthorized use of Social

11    Tech’s MEMOJI mark;
12           D.      Award Social Tech all amounts by which Apple has been unjustly enriched through
13
      its use of Social Tech’s MEMOJI mark;
14
             E.      Declare that Social Tech that it owns and has the right to use its MEMOJI trademark
15
      for any and all purposes and that its MEMOJI Mark is a valid, enforceable and federally registered
16
17    mark protectible under the Lanham Act as issued by the PTO, and that Apple is not entitled to a

18    federal registration for the mark MEMOJI.

19           F.      Declare that Social Tech’s use of its MEMOJI mark does not infringe any existing
20    and valid marks owned by Apple through common law use.
21
             G.      Award such other and further relief as this Court deems just and proper.
22
      Social Tech demands a trial by jury on all issues so triable.
23
24    Dated: September 27, 2018
25
26
27                                                  Respectfully submitted,
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                                                    Complaint




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1                                                         /s/Nicholas Ranallo
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                                                      T: (646) 770-1256
9                                                     F: (866) 774-9005
10
                                                      Attorneys for Plaintiff Social Technologies LLC
11
12
13
                                           DEMAND FOR TRIAL BY JURY
14
              Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff hereby demands a jury
15
      trial on all issues and causes of action triable to a jury.
16
17    Respectfully submitted,

18
                                                          /s/Nicholas Ranallo
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27
28                                                    Attorneys for Plaintiff Social Technologies LLC
                                                          15
                                                       Complaint




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                                           UNITED STATES PATENT AND TRADEMARK OFFICE
                                           Trademark Trial and Appeal Board
                                           P.O. Box 1451
                                           Alexandria, VA 22313-1451
                                           General Contact Number: 571-272-8500
                                           General Email: TTABInfo@uspto.gov
nmt/mbm
                                           November 28, 2018

                                           Cancellation No. 92069578

                                           Apple Inc.

                                                   v.

                                           Social Technologies LLC


Mary Beth Myles, Interlocutory Attorney:

    The motion (filed October 24, 2018) to suspend this proceeding pending final

determination of Civil Action No. 3:18-cv-05945 filed in the United States District

Court for the Northern District of California is granted as conceded. See Trademark

Rules 2.127(a) and 2.117(a).

    Accordingly, proceedings are suspended pending final disposition of the civil

action.

    Within twenty days after the final determination of the civil action, the parties

shall so notify the Board so that this proceeding may be called up for appropriate

action.1 Such notification to the Board should include a copy of any final order or final

judgment which issued in the civil action.



1A proceeding is considered to have been finally determined when an order or ruling that
ends litigation has been rendered, and no appeal has been filed, or all appeals filed have been
decided and the time for any further review has expired. See TBMP § 510.02(b).




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   During the suspension period, the parties must notify the Board of any address or

email address changes for the parties or their attorneys. In addition, the parties are

to promptly inform the Board of any other related cases, even if they become aware

of such cases during the suspension period. Upon resumption, if appropriate, the

Board may consolidate related Board cases.




                                          2




                                                                              APL-STECH_00000286
